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                      Exhibit “Z”
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                                                   DECLARATION

                               Case No. : 19-4283, Chapter 7, Adv. Proc. No. 20-04037




Anthony J Gugliuzza, certifies and declares as follows:

1. I am over the age of 18 years and not a party to this action.

2. My business address is 7610 West Washington Street, Indianapolis, Indiana 46231.

3. I am a Transactions Specialist III and Custodian of Records for JPMorgan Chase Bank, N.A. (hereinafter referred to
as the "Bank") in the National Subpoena Processing Department located in Indianapolis, Indiana.

4. Based on my knowledge of the Bank's business records practices and procedures, the enclosed records are a true
and correct copy of the original documents kept by the Bank in the ordinary course of business.

5. Based on my knowledge of the Bank's business records practices and procedures, the records were made at or near
the time of the occurrence of the matters set forth in the records by, or from, information transmitted by a person with
knowledge of those matters.

6. It is the regular practice of the Bank to make such a record of transactions in the ordinary course of business.


I declare under penalty of perjury, under the laws of the State of Indiana, that the foregoing is true and correct.




      12/02/2021
Dated:______________________

                                            By:________________________________
                                               _______________________________
                                              Anthony J Gugliuzza
                                               Transactions Specialist III
                                               JPMORGAN CHASE BANK, N.A.




SB1217566-F2


                                                                                           SUBP10a
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National Subpoena Processing
Mail Code IN1-4054
7610 West Washington Street
Indianapolis, Indiana 46231



4/27/2021

JAMES S BROUNER
THE LAW OFFICE OF MARK A WEISBART
12770 COIT RD STE 541
DALLAS TX 75251


Case Name: IN RE MUHAMMAD NASIR SIDDIQI, DEBTOR MARK A WEISBART CHAPTER 7
TRUSTEE V JAMELA SIDDIQI
Case No.: 19-4283, 20-04037
JPMorgan Chase File No.: SB1217566-F1

Dear Sir/Madam:

Here is the information that fulfills your request on the matter referenced above.

If you have questions, please call us at 1-844-751-7728. We're here to help Monday through Friday from 8:30 a.m. to
7:00 p.m. Eastern Time. Please know that we are only able to provide a status of this request. We can't verbally
disclose further information related to the records and/or information provided.

Please notify our office immediately of any email address changes to avoid electronic delivery delays for future
productions.


Sincerely,



Leah Lucas
Operations Manager, VP
Chase Customer Service




JPMorgan Chase Bank, N.A. Member FDIC
SUBP17
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 Table Of Contents :
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 Account Number :                    0290
   Checking -Signature Card                                             1

 Account Number :                    1773
   Checking -Signature Card                                             2

 Account Number :                    5037
   Savings -Signature Card                                              3

 Account Number :                  60290
   Statement and/or items                                               4
   Checking - Correspondence                                          594
   Checking - Paperless Transactions                                  596

 Account Number :                   1773
   Statement and/or items                                             597
   Checking - Paperless Transactions                                 1587

 Account Number :                   5037
   Statement and/or items                                            1590
   Savings - Paperless Transactions                                  2108

 Account Number :                    1773
   Checking - Correspondence                                         2111
   Checking - Correspondence                                         2195

 Account Number :                    3275
   Statement and/or items                                            2201
   Credit Card - Application                                         2209
   Credit Card - Correspondence                                      2210
   Credit Card - Correspondence                                      2211
   Credit Card - Correspondence                                      2212
   Credit Card - Correspondence                                      2213
   Credit Card - Correspondence                                      2214
   Credit Card - Correspondence                                      2215
   Credit Card - Correspondence                                      2216

 Account Number :                   73191
   Statement and/or items                                            2217
   Credit Card - Electronic Payments                                 2409
   Credit Card - Payment Checks - 09/08/2017 - $500.00               2410
   Credit Card - Payment Checks - 09/08/2017 - $500.00               2411
   Credit Card - Payment Checks - 09/08/2017 - $500.00               2412
   Credit Card - Correspondence                                      2413
   Credit Card - Correspondence                                      2414

 Account Number :                    7597
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    Statement and/or items                                           2415
    Credit Card - Application                                        2739
    Credit Card - Application                                        2740
    Credit Card - Application                                        2741
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          CHASEO                                                                                         January   25, 2017 through    February         22, 2017
          JPMorgan Chase Bank, NA
          POBox 659754
                                                                                                           Primary Account:                                      1773
          San Antonio, TX 78265 - 9754

                                                                                                      CUSTOMER SERVICE INFORMATION
                                                                                                      Web site:                                     Chase.com
      11, •• 1,1,1, •• ,11,1,1,11 •• ",1,1,1,,1   •• ,11,,1,1 •• 1,111•.•• ,,111                      Service Center:                       1-800-935-9935
      00001405 ORE 201 14205417 NNNNNNNNNNN T 1 000000000350000                                       Deaf and Hard of Hearing:             1-800-242-7383
      MUHAMMAD N SIDDIQI                                                                              Para Espanol                          1-877 -312-4273
      3020 BIGTOWN BLVD                                                                               International Calls:                   t-7t3-262-1679
      MESQUITE TX 75150-2412




 We changed how we explain ATM Withdrawal limits and removed the cash deposit limit at
 Staffed ATMs

 We revised the Deposit Account Agreement to change how we explain ATM withdrawal                                   limits, Additionally,       we removed the
 limit on how much cash you can deposit at a Staffed ATM,

 Below is the explanation           provided      in the Deposit Account Agreement           for personal accounts,

             Your ATM withdrawal              limits may be different depending        on which type of ATM you use:

                         When you use a Staffed ATM, the following limitations apply and are separate from all other limits:
                         You can withdraw up to $3,000 each day This separate limit does not apply to a Privileges card,

                         When you use an Enhanced A TM, the following limitations apply:
                         All withdrawals made with any ot your ATM, debit or prepaid                         cards    count    toward       every            card's     daily
                         withdra wallimiL

                         When you use non-Chase ATMs and Chase ATMs that are not Enhanced, you can withdraw up to the
                         card's daily withdrawal limit, Withdrawals using other cards will not count towards that card's daily
                         withdrawallimiL

 You can get the latest Deposit Account Agreement at chase, com/disclosures,   at a branch or by request when you call us,
 The parts of the Deposit Account Agreement that changed will be in the Change in Terms section,

 If you have questions,          please call the number on your statement



 -----------
  ASSETS
  Checking      & Savings                                                          ACCOUNT                            BEGINNING BALANCE                      ENDING BALANCE
                                                                                                                              THIS PERIOD                         THIS PERIOD
  Chase Premier Plus Checking                                                                                                 $22,354.07                            $18,936.26
  Chase Plus Savings                                                                                                                  950.73                            8,549.19
  Total                                                                                                                       $23,304.80                            $27,485-45



  TOTAL       ASSETS                                                                                                          $23,304.80                            $27,485-45




                                                                                                                                            P~g.(;'!1   of   4




                                                                               SB1217566-F1                                                                                               1138
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         CHASEO                                                                    January    25, 2017 through   February   22, 2017
                                                                                         Primary Account:                     1773



 All Summary Balances shown are as of February 22, 2017 unless otherwise stated.         For details of your retirement
 accounts, credit accounts or securities accounts, you will receive separate statements.  Balance summary information for
 annuities is provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness
 or accuracy.




                                                                                                                 •    •••              1773




 ICHECKING                SUMMARY           1----------------                  AMOUNT
  Beginning     Balance                                                    $22,354,07
  Deposits and Additions                                                     17,417.10
  Checks Paid                                                                -4,215.69
  ATM & Debit Card Withdrawals                                                 -138.91
  Electronic   Withdrawals
  Ending   Balance

  Annual Percentage       Yield Earned This Period                             0.01%
  Interest Paid This Period                                                     $0.17
  Interest Paid Year-to-Date                                                    SO.52

 Interest paid in 2016 for account •••••             1773 was $2.15.

 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect            Checking account.



  DEPOSITS AND ADDITIONS
  DATE          DESCRIPTION                                                                                                       AMOUNT




 Total Deposits      and Additions                                                                                          $17,417,10




                                                                                                                     Page 2 014




                                                            SB1217566-F1                                                                             1139
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          CHASEO                                                                   January   25, 2017 through   February   22, 2017
                                                                                     PrimaryAccount:                         1773




 CHECKS PAID




 Total Checks Paid                                                                                                           $4,215.69
 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
 1\   An image of this check may be available for you to view on Chase. com.



 IATM & DEBIT CARD WITHDRAWALSI
  DATE       DESCRIPTION                                                                                                          AMOUNT




 Total ATM & Debit Card Withdrawals                                                                                               $138.91



  DATE       DESCRIPTION                                                                                                          AMOUNT




 Total Electronic    Withdrawals                                                                                           $16,480,31




                                                                                                                    Page 3 01 4




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         CHASEO                                                                                     January   25, 2017 through    February     22, 2017
                                                                                                        Primary Account:                          1773




                                                                                                                                  •••                   _5037



    SAVINGSSU
                                                                                               AMOUNT
  Beginning     Balance                                                                       $950.73
  Deposits and Additions
  Ending Balance

  Annual Percentage       Yield Earned This Period                                             0.03%
  Interest Paid This Period                                                                     $0.15
  Interest Paid Year-Io-Dale                                                                    SO.18

 Interest paid in 2016 for account •••••                 5037 was $052.

 The monlhly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.




  DATE        DESCRIPTION                                                                                                  AMOUNT                      BALANCE

                Beginning     Balance                                                                                                                  $950.73




 You earned a higher interest rate on your Chase Plus Savings account during this statement                        period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS                 ABOUT YOUR ELECTRONIC            FUNDS TRANSFERS;          Call or write us at the phone number or address
 on the trent of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you need
 more information about a transfer listed on the statement or receipt, We must hear from you no later than 60 days after we sent you the FIRST
 statement on which the problem or error appeared.       Be prepared to give us the following information:
                Your name and account number
                The dollar amount of the suspected error
                A description of the error or transfer you are unsure ot, why you believe it is an error, or why you need more information.
 We will invesligate your complaint and will correct any error promptly.    If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.

 IN CASE OF ERRORS        OR QUESTIONS       ABOUT     NON-ELECTRONIC        TRANSACTIONS:         Contact the bank immediately      if your statement is
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 Account Rules and Regulations or other applicable account agreement that governs your account.


                                                                                                           JPMorgan     Chase    Bank,    N.A. Member       FDIC




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          CHASEO                                                                        April 22, 2017 through   May 19,2017
          JPMorgan Chase Bank, NA
          POBox 659754
                                                                                       Primary Account:                              1773
          San Antonio, TX 78265 - 9754

                                                                               CUSTOMER SERVICE INFORMATION
                                                                               Web site:                                    Chase.com
                                                                               Service Center:                      1-800-935-9935
      00001343 ORE 201 14214017 NNNNNNNNNNN T 1 000000000350000                Deaf and Hard of Hearing:            1-800-242-7383
      MUHAMMAD N SIDDIQI                                                       Para Espanol                         1-877 -312-4273
      3020 BIGTOWN BLVD                                                        International Calls:                  t-7t3-262-1679
      MESQUITE TX 75150-2412




 -----------
  ASSETS
  Checking      & Savings                                     ACCOUNT                           BEGINNING BALANCE                    ENDING BALANCE
                                                                                                        THIS PERIOD                      THIS PERIOD
  Chase Premier Plus Checking
  Chase Plus Savings                                                                                       10,959,69                      10,619,63
  Total                                                                                                   $20,876.30                     $14,653-45



  TOTAL        ASSETS                                                                                     $20,876.30                     $14,653-45



  All Summary Balances shown are as of May 19, 2017 unless otherwise stated,         For details of your retirement accounts,
  credit accounts or securities accounts, you will receive separate statements, Balance summary information for annuities is
  provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness or
  accuracy,




                                                                                                                 •••••                      1773




  CHECKING SUMMARY
                                                                              AMOLJNT
  Beginning      Balance                                                    $9,916,61
  Deposits and Additions                                                    20,447,24
  Checks Paid                                                              -17,232,94
  ATM & Debit Card Withdrawals                                                -14008
  Electronic    Withdrawals
  Ending      Balance

  Annual Percentage        Yield Earned This Period                            0,01%
  Interest Paid This Period                                                    $0,07
  Interest Paid Year-to-Date




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         CHASEO                                                                         April 22, 2017 through   May 19, 2017
                                                                                      Primary Account:                      1773




 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect             Checking account.


 DEPOSITS AND ADDITIONS
  DATE                 DESCRIPTION                                                                                                AMOUNT




 Total Deposits and Additions


 CHECKS PAID

 CHECK NO.                    DESCRIPTION
 1260     /\
               /\


          /\


 1396 '/\
         ,/\
                                                                                                         (
          /\                                                                                             (                       4,
          /\                                                                                             (
         ,/\                                                                                             (                  11
 1747    '/\                                                                                             05/15                        100.00
 Total Checks Paid                                                                                                        $17,232.94

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 , All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
   one of your previous statements.
 "An     image of this check may be available for you to view on Chase.com.



 IATM & DEBIT CARD WITHDRAWALSI
  DATE              DESCRIPTION                                                                                                   AMOUNT




 Total ATM & Debit Card Withdrawals                                                                                               $140.08


 IELECTRONIC WITHDRAWALSI
  DATE              DESCRIPTION                                                                                                   AMOUNT




                                                                                                                    Page 2 014




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         CHASEO                                                                        April 22, 2017 through   May 19, 2017
                                                                                      Primary Account:                       1773




                                                     (continued)

  DATE     DESCRIPTION                                                                                                            AMOUNT




 Total Electronic     Withdrawals




                                                                                                                •••••                5037




                                                                             AMOUNT
  Beginning     Balance                                                  $10,959.69
  Deposits and Additions                                                    2,659.94
  Electronic   Withdrawals
  Ending Balance

  Annual Percentage       Yield Earned This Period                           0.03%
  Interest Paid This Period                                                   $0.23
  Interest Paid Year-to-Date                                                  SO.83

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


               SACTION D
  DATE         DESCRIPTION                                                                               AMOUNT                   BALANCE

                Beginning    Balance                                                                                       $10,959.69




 You earned a higher interest rate on your Chase Plus Savings account during this statement      period because you had a
 qualifying Chase Premier Plus Checking account.




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       CHASEO                                                                                            April 22, 2017 through   May 19, 2017
                                                                                                       Primary Account:                       1773




 IN CASE OF ERRORS OR QUESTIONS                  ABOUT YOUR ELECTRONIC            FUNDS TRANSFERS:          Call or write us at the phone number or address
 on the "front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or it you need
 more iniormation about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you the FIRST
 statement on which the problem or error appeared.        Be prepared to give us the following information:
                 Your name and account number
                 The dollar amount of the suspected error
           •     A description of the error or transfer you are unsure ot, why you believe it is an error, or why you need more information.
 We will investigate your complaint and will correct any error promptly.     Ii we take mora than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you thmk is in error so that you will have use of the money during the time it takes
 us to complete our investigation,

 IN CASE OF ERRORS OR QUESTIONS               ABOUT NON-ELECTRONIC           TRANSACTIONS:      Contact the bank immediately if your statement is
 incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
 you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
 Account Rules and Regulations or other applicable account agreement that governs your account


                                                                                                          JPMorgan Chase Bank, N.A. Member FDIC




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  3020 BlCTOWN  BLVD.
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  MESQUITE. TX 75150




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          CHASEO                                                                         May 20, 2017 through   June 21,2017
          JPMorgan Chase Bank, NA
          POBox 659754
                                                                                        Primary Account:                            1773
          San Antonio, TX 78265 - 9754

                                                                                CUSTOMER SERVICE INFORMATION
                                                                               Web site:                                   Chase.com
                                                                               Service Center:                         1-800-935-9935
      00001337 ORE 201 14217317 NNNNNNNNNNN T 1 000000000350000                Deaf and Hard of Hearing:               1-800-242-7383
      MUHAMMAD N SIDDIQI                                                       Para Espanol                            1-877 -312-4273
      3020 BIGTOWN BLVD                                                        International Calls:                    t-7t3-262-1679
      MESQUITE TX 75150-2412




 -----------
  ASSETS
  Checking      & Savings                                     ACCOUNT                            BEGINNING BALANCE                  ENDING BALANCE
                                                                                                         THIS PERIOD                    THIS PERIOD
  Chase Premier Plus Checking                                                                               S4,033,82                    $8,410,29
  Chase Plus Savings                                                                                        10,619,63                      13,093,91
  Total                                                                                                    $14,653.45                   $21,504,20



  TOTAL        ASSETS                                                                                      $14,653.45                   $21,504,20



  All Summary Balances shown are as of June 21 , 2017 unless otherwise stated         For details of your retirement accounts,
  credit accounts or securities accounts, you will receive separate statements' Balance summary information for annuities is
  provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness or
  accuracy,




                                                                                                                 •••                    _1773




  CHECKING SUMMARY
                                                                               AMOLJNT
  Beginning      Balance                                                    $4,033,82
  Deposits and Additions                                                    17,143,08
  Checks Paid                                                                -2,995,39
  ATM & Debit Card Withdrawals                                                  -97,95
  Electronic    Withdrawals
  Ending      Balance

  Annual Percentage        Yield Earned This Period                            0,01%
  Interest Paid This Period                                                     $0,07
  Interest Paid Year-to-Date




                                                                                                                   P~g.(;'!1   of   4




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           CHASEO                                                                        May 20, 2017 through June 21,2017
                                                                                       Primary   Account:                  1773




 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect            Checking account.


 DEPOSITS AND ADDITIONS
  DATE                DESCRIPTION                                                                                               AMOUNT




 Total Deposits          and Additions


 CHEC

 CHECK NO.                   DESCRIPTION
 1180      "

               "
 1380      "

           *"                                                                                           (
           *f\                                                                                          (
                                                                                                        (
           "                                                                                            (
           "




 Total Checks Paid                                                                                                         $2,995,39
 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,    either because they haven't cleared yet or they were listed on
   one of your previous statements.
 to.   An image of this check may be available for you to view on Chase.com.



 IATM & DEBIT CARD WITHDRAWALSI
   DATE            DESCRIPTION                                                                                                  AMOUNT




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         CHASEO                                                                           May 20, 2017   through June 21,2017
                                                                                         Primary Account:                      1773




 IATM & DEBIT CARD WITHDRAWALSI                                (continued)

                                                                                                                                    AMOUNT
                                                                                                                                      1000



 Total ATM & Debit Card Withdrawals                                                                                                 $97.95


 IELECTRONIC WITHDRAWALSI
  DATE                                                                                                                              AMOUNT
 05123                                                                                                                               S95.41
 05130




 06107




 Total Electronic   Withdrawals                                                                                                $9,673.27




                                                                                                                •••                  15,'037



   SAVINGS SUMMARY
                                                                                 AMOUNT
  Beginning   Balance                                                        $10,619.63
  Deposits and Additions
  Ending Balance

  Annual Percentage     Yield Earned This Period                                0.03%
  Interest Paid This Period                                                      $0.32
  Interest Paid Year-to-Date                                                     S1.15

 The rnonthly service fee for this account was waived as an added feature of Chase Prernier Plus Checking account.




                                                                                                                      Page 3 01 4




                                                      SB1217566-F1                                                                                    1189
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                 Desc
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         CHASEO                                                                                          May 20, 2017 through June 21,2017
                                                                                                       Primary Account:                         1773



 TRANSACTION DETAIL
  DATE       DESCRIPTION                                                                                                  AMOUNT                     BALANCE

                Beginning     Balance                                                                                                         $10,619.63




 You earned a higher interest rate on your Chase Plus Savings account during this staternent                       period because you had a
 qualifying Chase Prernier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS                 ABOUT YOUR ELECTRONIC           FUNDS TRANSFERS:            Call or write us at the phone number or address
 on the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you need
 more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days alter we sent you the FIRST
 statement on which Ihe problem or error appeared.       Be prepared to give us the following information:
                Your name and account number
                The dollar amount of the suspected error
          •     A description of the error or transfer you are unsure 01, why you believe it is an error,.or why you need more information.
 We will Investigate your complainl and will correct any error promptly.   If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we Will credit your account for the amount you think IS in error so that you will have use of the money ourlnq the time it takes
 us to complete our investigation

  IN CASE OF ERRORS       OR QUESTIONS        ABOUT    NON·ELECTRONIC         TRANSACTIONS:        Contact the bank immediately    if your statement      is
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 Account Rules and Regulations or other applicable account agreement that governs your account.

                                                                                                  ;@      JPMorgan     Chase   Bank,    N,A, Member       FDIC




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Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                          Desc
       Exhibit Z Declaration of JPMorgan Chase Bank Page 22 of 190


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               Mesquite, TX 75150-2412
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          CHASEO                                                                        June 22,2017      through July 24, 2017
          JPMorgan Chase Bank, NA
          POBox 659754
                                                                                       Primary Account:                               1773
          San Antonio, TX 78265 - 9754

                                                                               CUSTOMER SERVICE INFORMATION
                                                                               Web site:                                     Ohase.corn
                                                                               Service Center:                       1-800-935-9935
      00001340 ORE 201 14220617 NNNNNNNNNNN T 1 000000000350000                Deaf and Hard of Hearing:             1-800-242-7383
      MUHAMMAD N SIDDIQI                                                       Para Espanol                          1-877 -312-4273
      3020 BIGTOWN BLVD                                                        International Calls:                   t-7t3-262-1679
      MESQUITE TX 75150-2412




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  ASSETS
  Checking      & Savings                                     ACCOUNT                           BEGINNING BALANCE                     ENDING BALANCE
                                                                                                        THIS PERIOD                       THIS PERIOD
  Chase Premier Plus Checking                                                                               S8,410,29                      $6,271,35
  Chase Plus Savings                                                                                        13,093,91                      14,488,19
  Total                                                                                                    $21,504,20                     $20,759,54



  TOTAL        ASSETS                                                                                      $21,504,20                     $20,759,54



  All Summary Balances shown are as of July 24,2017 unless otherwise stated,         For details of your retirement accounts,
  credit accounts or securities accounts, you will receive separate statements, Balance summary information for annuities is
  provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness or
  accuracy,




                                                                                                                 _      ••                _1773




  CHECKING SUMMARY
                                                                              AMOLJNT
  Beginning      Balance                                                    $8,410,29
  Deposits and Additions                                                     7,004.48
  Checks Paid                                                               -1,702,39
  ATM & Debit Card Withdrawals                                              -1,005,36
  Electronic    Withdrawals                                                 -5,935,67
  Other Withdrawals                                                           -500,00
  Ending      Balance

  Annual Percentage        Yield Earned This Period                            0,01%
  Interest Paid This Period                                                    $008
  Interest Paid Year-to-Date                                                      ,01




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          CHASEO                                                                                                            June 22, 2017 through July 24, 2017
                                                                                                                           Primary Account:                    1773




 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect                                                Checking account.


 DEPOSITS AND ADDITIONS
  DATE              DESCRIPTION                                                                                                                                     AMOUNT




                                                                                                                                                                             0,08
 Total Deposits           and Additions                                                                                                                        $7,004.48


 CHECKS PAID
                                                                                                                                              DATE
 CHECK NO,                      DESCRIPTION                                                                                                   PAID                  AMOUNT
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 1748 * /\                                                                                                                                    (17,                   1
 3872     * /\                                                                                                                                (171
 9120     *"                                                                                                                                  (171                   6!
 Total Checks            Paid                                                                                                                                  $1,702.39

 II you see a description in the Checks Paid section, it means that we received only electronic inlormation about the check,
 not the original or an image 01 the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,                                either because they haven't cleared yet or they were listed on
   one of your previous statements.
 1\   An image 01 this check may be available lor you to view on Chase. com.



 IATM & DEBIT CARD WITHDRAWALSI
  DATE           DESCRIPTION                                                                                                                                        AMOUNT
 06/29            :are    'urohase               06/28aco              Cabana 20350 Dallas TX ;ard 5:199                                                                 S757
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 0'               :are    urcnase                )7/Olaco              Bueno Plano         Plano TX        .ard 5 99
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                 Care     'urchase               )71       VE sran ::ner(JY          LC                   '070 FI     .ard 5399                                      22
                 ATfli                            07, 2                V Spring Creek Pkwy            'lana 'X Card 5399                                             50         J
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                  arc     'urchase               )71          ,nh~        'QC lie          'ill Carrolltoi          Card 5399                                            9C
                  arc     'urohase               )71          aoo          #29890 Da         IS     COrei 5399
                  arc     urcnase                )7/:         acetrac 93                          en         • Card 5399                                                  1,
 0'               arc            "'::;C   'VI   Pin      '/:,7·      Eleven Plano T          :::areI53!
                  arc                           Pin      '/:·7·      Eleven Farmers          Irane 'X      .ard 5399
 Total ATM & Debit Card Withdrawals                                                                                                                            $1,005.36




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                                                                                SB1217566-F1                                                                                               1210
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         CHASEO                                                                        June 22, 2017 through July 24, 2017
                                                                                      Primary Account:                      1773




 IELECTRONIC WITHDRAWALSI
          DESCRIPTION                                                                                                            AMOUNT




 Total Electronic    Withdrawals                                                                                            $5,935.67


         ER WITHDRAWALS
  DATE    DESCRIPTION                                                                                                             AMOUNT
 07/12    07/12 Withdrawal                                                                                                       S500.00
 Total Other Withdrawals                                                                                                         $500.00




                                                                                                             •••                  _5037




 ISAVINGS             SUMMARY              1----------------                  AMOUNT
  Beginning    Balance                                                  $13,093,91
  Deposits and Additions                                                  1
  Ending Balance

  Annual Percentage      Yield Earned This Period                             0.03%
  Interest Paid This Period                                                   $038
  Interest Paid Year-to-Date                                                   SI.53

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 TRANSACTION DETAIL
 DATE         DESCRIPTION                                                                                AMOUNT                  BALANCE

               Beginning    Balance                                                                                       $13,093.91




                                                                                                                   Page 3 01 4




                                                     SB1217566-F1                                                                                 1211
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       CHASEO                                                                                           June 22, 2017 through July 24, 2017
                                                                                                      Primary Account:                           1773


 You earned a higher interest rate on your Chase Plus Savings account during this staternent                      period because you had a
 qualifying Chase Prernier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS               ABOUT YOUR ELECTRONIC          FUNDS TRANSFERS,            Call or write us at the phone number or address
 on the trent of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or Ii you need
 more iniormation about a transtsr listed on the statement or receipt   We must hear from you no later than 60 days alter we sent you the FIRST
 statement on which the problem or error appeared,     Be prepared to give us the following information:
                Your name and account number
          •     The dollar amount of the suspected error

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 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation,

  IN CASE OF ERRORS       OR QUESTIONS       ABOUT     NON·ELECTRONIC        TRANSACTIONS:        Contact the bank irnrnediatety     if your statement is
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 Account Rules and Regulations or other applicable account agreement that governs your account


                                                                                                         JPMorgan Chase Bank. NA Member FDIC




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          CHASEO                                                                        August 22, 2017 through September         22, 2017
          JPMorgan Chase Bank, NA
          POBox 659754
                                                                                           Primary Account:                           1773
          San Antonio, TX 78265 - 9754

                                                                                      CUSTOMER SERVICE INFORMATION
                                                                                      Web site:                              Ohase.corn
                                                                                      Service Center:                1-800-935-9935
      00001319 ORE 201 14226617 NNNNNNNNNNN T 1 000000000350000                       Deaf and Hard of Hearing:       1-800-242-7383
      MUHAMMAD N SIDDIQI                                                              Para Espanol                    1-877 -312-4273
      3020 BIGTOWN BLVD                                                               International Calls:            t-7t3-262-1679
      MESQUITE TX 75150-2412




 We updated our Deposit Account Agreement

 On August 27,2017,        we published   an updated version of our Deposit Account Agreement

 You can get the latest Deposit Account Agreement        at chase.corn/disclosures,   at a branch or by request when you call us,
 Please review these sections:

             General Account Terms, Section A, Deposit Records and Receipts We updated this section to clarify that if the
             amount written on your deposit ticket is different from the total deposit you present, we can adjust your account for
             the difference,
             General Account Terms, Section C, Overdrafts: We have added language to explain that we rely on transaction
             coding sent to us by the merchant or third party to determine whether a transaction is everyday or recurring,

 Please call us at the number on this statement      if you have any questions,


 Talk to a banker to see if our new savings account is right for you

 We are offering a new personal savings account, Chase Premier SavingsSM, which may pay you a higher interest rate than
 your current Chase savings account, if you:
           Link the account with a Chase Premier Plus CheckingSM or Chase Premier Platinum CheckingSM account, and
           Have at least five customer-initiated transactions in a monthly statement period on your linked checking account

 Chase Premier Savings has a monthly service fee of S25 that is waived when you do at least one of the following                             each
 monthly statement period:
         Maintain a balance at the beginning of each day of $15,000 or more in the savings account, or
         Link to a Chase Premier Plus Checking or Chase Premier Platinum Checking account

 Please visit a branch to learn more about this savings account and if it's right for you,


 _:-----------
  ASSETS
  Checking      & Savings                                          ACCOUNT                          BEGINNING BALANCE
                                                                                                            THIS PERIOD

  Chase Premier Plus Checking
  Chase Plus
  Total



  TOTAL       ASSETS                                                                                          $20,260,18                  $31,379-48




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         CHASEO                                                                    August 22, 2017 through    September   22, 2017
                                                                                        Primary Account:                    1773



 All Summary Balances shown are as of September 22, 2017 unless otherwise stated.          For details of your retirement
 accounts, credit accounts or securities accounts, you will receive separate statements.  Balance summary information for
 annuities is provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness
 or accuracy.




   MUHAMMAD       N SIDDIQI                                                                Account   Number:_1773




                                                                               AMOUNT
  Beginning   Balance                                                       $4,460,76
  Deposits and Additions                                                     13,616.36
  Checks Paid                                                                  -762.80
  Elec1ronic Withdrawals                                                            .61
  Ending   Balance

  Annual Percentage      Yield Earned This Period                              0.01%
  Interest Paid This Period                                                     $0.08
  In1erest Paid Year-to-Oate                                                    Sl.14

 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect           Checking account.



  DEPOSITS AND ADDITIONS
  DATE                                                                                                                          AMOUNT
 08/24




 Total Deposits      and Additions                                                                                        $13,616.36




                                                                                                                   Page 2 014




                                                        SB1217566-F1                                                                            1233
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          CHASEO                                                                      August 22, 2017 through   September   22, 2017
                                                                                          Primary Account:                    1773



 CHECKS PAID

 CHECK NO,                    DESCRIPTION
 1103     f\

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 Total Checks Paid                                                                                                                 $762,80
 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not lhe original or an image of lhe check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,     either because they haven't cleared yet or they were listed on
   one of your previous statements.
 1\   An image of this check may be available for you to view on Chase.com.


 IELECTRONIC WITHDRAWALSI
  DATE          DESCRIPTION                                                                                                        AMOUNT




                Affiliated   Bank   Loan Paymt 0073249344   TellD   9Dft4
                American      Express ACH Pmt     W2416     Web ID: 2005032111
 Total Electronic            Withdrawals




                                                                                                                 ____                 5037




      SAVINGS SUMMARY
                                                                                  AMOUNT
  Beginning         Balance                                                   $15,799.42
  Deposits and Additions
  Ending Balance

  Annual Percentage            Yield Earned This Period                           0.03%
  Interest Paid This Period                                                        $050
  Interest Paid Year-to-Date                                                       S2.39

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.



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         CHASEO                                                                                      August    22, 2017 through September    22, 2017
                                                                                                          Primary Account:                     1773



 TRANSACTION DETAIL
  DATE       DESCRIPTION                                                                                                     AMOUNT                 BALANCE

                Beginning       Balance                                                                                                      $15,799.42




 You earned a higher interest rate on your Chase Plus Savings account during this statement                          period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS               ABOUT YOUR ELECTRONIC            FUNDS TRANSFERS:       Call us at 1-866-564-2262 or write us at the
 address on the front of this statement (non-personal   accounts contact Customer Service) immediately if you think your statement or receipt is
 incorrect or if you need more information about a transfer listed on the statement or receipt
 For personal accounts only: We must hear trom you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:
           •     Your name and account number
           •     The dollar amount of the suspected error

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 accounts) to do this, we will credit your account lor the amount you think IS in error so that you will have use of the money during the lime it takes
 LlS to complete our investigation.

 IN CASE OF ERRORS OR QUESTIONS                ABOUT NON·ELECTRONIC           TRANSACTIONS:      Contact the bank immediately if your statement is
 incorrect or if you need m.ore information abo.ut any non-electronic transactions {checks or deposits) on this statement. If any. such error appears,
 you must notity the bank  In writing no later than 30 days after the statement was made available to      (J0U'
                                                                                                             For more complete details, see the
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                                                                                                 ~            JPMorgan Chase Bank, N,A, Member FDIC
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                                                                  SB1217566-F1                                                                                       1235
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               3020 Big Town Blvd'
             Mesquite, TX 76150-2412
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          CHASEO                                                                  October   24, 2017 through   November        21,2017
          JPMorgan Chase Bank, NA
          POBox 659754
                                                                                       Primary Account:                            1773
          San Antonio, TX 78265 - 9754

                                                                                CUSTOMER SERVICE INFORMATION
                                                                               Web site:                                  Ohase.corn
                                                                               Service Center:                    1-800-935-9935
      00001297 ORE 201 14232617 NNNNNNNNNNN T 1 000000000350000                Deaf and Hard of Hearing:          1-800-242-7383
      MUHAMMAD N SIDDIQI                                                       Para Espanol                       1-877 -312-4273
      3020 BIGTOWN BLVD                                                        International Calls:                t-7t3-262-1679
      MESQUITE TX 75150-2412




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  ASSETS
  Checking      & Savings                                     ACCOUNT                           BEGINNING BALANCE                  ENDING BALANCE
                                                                                                        THIS PERIOD                    THIS PERIOD
  Chase Premier Plus Checking                                                                              83,945,36                   $10,822,49
  Chase Plus Savings                                                                                       21,691,83                     22,801,70
  Total                                                                                                   $25,637,19                   $33,624,19



  TOTAL        ASSETS                                                                                     $25,637,19                   $33,624,19



  All Summary Balances shown are as of November 21, 2017 unless otherwise stated,           For details of your retirement
  accounts, credit accounts or securities accounts, you will receive separate statements,  Balance summary information for
  annuities is provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness
  or accuracy,




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  CHECKING SUMMARY
                                                                               AMOUNT
  Beginning      Balance                                                    $3,945,36
  Deposits and Additions                                                    13,750,57
  Checks Paid                                                                  -745,00
  Electronic    Withdrawals
  Ending      Balance

  Annual Percentage        Yield Earned This Period                            0,01%
  Interest Paid This Period                                                     $005
  Interest Paid Year-to-Date                                                       .26


 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect           Checking account




                                                                                                                  P~g.(;'!1   of   4




                                                       SB1217566-F1                                                                                         1252
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                         Desc
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       CHASEO                                                                     October   24, 2017 through   November   21, 2017
                                                                                     PrimaryAccount:                       1773




 DEPOSITS AND ADDITIONS




 Total Deposits     and Additions                                                                                         $13,750.57


 CHECKS PAID
                                                                                                       DATE
 CHECK NO.             DESCRIPTION                                                                     PAID                    AMOUNT
       /\
                                                                                                                                $
       */\


       */\                                                                                                                      1,
       */\
                                                                                                                                5'
 Total Checks Paid                                                                                                             $745.00

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image .
 • All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
 /\ An image of this check may be available for you to view on Chase.com.


 iELECTRONIC WITHDRAWALSI
             DESCRIPTION




 Total Electronic    Withdrawals                                                                                           $6,128.44




                                                                                                                  Page 2 014




                                                       SB1217566-F1                                                                             1253
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         CHASEO                                                                                    October 24, 2017 through November 21, 2017
                                                                                                          Primary Account:                     1773




                                                                                                                                 ____                  5037




    SAVINGSSU
                                                                                                AMOUNT
  Beginning     Balance                                                                  $21,691.83
  Deposits and Additions                                                                    1
  Ending    Balance

  Annual Percentage       Yield Earned This Period                                              0.03%
  Interest Paid This Period                                                                     $0.53
  Interest Paid Year-to-Date                                                                     S3.46

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


            SACTION D
  DATE        DESCRIPTION                                                                                                    AMOUNT                 BALANCE

                Beginning     Balance                                                                                                        $21,691.83




 You earned a higher interest rate on your Chase Plus Savings account during this staternent                        period because you had a
 qualifying Chase Premier Plus Checking account.




  IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
  address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
  incorrect or if you need more information about a transfer listed on the statement or receipt.
  For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
  appeared. Be prepared to give us tho following information:
                  Your name and account number
          •       The dollar amount of the suspected error
 We will i~vest~~t~S~~~ii~g~~I~i;te~~oJ   ~\llr:r;~6t ~~~ '::r;o~r;;,;','~p~ly
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 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON·ELECTRONIC TRANSACTIONS: Contact the bank imrncdintcty if your statement is
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 Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
 JPMorgan Chase Bank, N.A. Member FDIC

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                                                                                                            JPMorgan Chase Bank, N,A. Member FDIC




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                                                                  SB1217566-F1                                                                                       1254
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           Exhibit Z Declaration of JPMorgan Chase Bank Page 39 of 190


                                                                                                                         CHECKING/CHEQUES                              ~
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 'IT                  PAY ABLE BY THE COUNTY                       TREASURER              OF THE COUNTY    OF DALLAS,         STATE OF TEXAS
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OF                DALLAS,   tx    75234                                                                         PI'. YMENT BEFORE 366'" nA Y FOLLOWING ISSUANCE                                ,;
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          CHASEO                                                                 November    22,2017      lhrough   December            21, 2017
          JPMorgan Chase Bank, NA
          POBox 659754
                                                                                       Primary Account:                                 1773
          San Antonio, TX 78265 - 9754

                                                                                CUSTOMER SERVICE INFORMATION
                                                                               Web site:                                       Chase.com
                                                                               Service Center:                          1-800-935-9935
      00001264 ORE 201 14235617 NNNNNNNNNNN T 1 000000000350000                Deaf and Hard of Hearing:                1-800-242-7383
      MUHAMMAD N SIDDIQI                                                       Para Espanol                             1-877 -312-4273
      3020 BIGTOWN BLVD                                                        International Calls:                     t-7t3-262-1679
      MESQUITE TX 75150-2412




 -----------
  ASSETS
  Checking      & Savings                                     ACCOUNT                           BEGINNING BALANCE                       ENDING BALANCE
                                                                                                        THIS PERIOD                         THIS PERIOD
  Chase Premier Plus Checking                                                                              $10,822.49                         $2,918,83
  Chase Plus Savings                                                                                         22,801,70                        24,871,36
  Total                                                                                                    $33,624.19                       $27,790,19



  TOTAL        ASSETS                                                                                      $33,624.19                       $27,790,19



  All Summary Balances shown are as of December 21, 2017 unless otherwise stated,           For details of your retirement
  accounts, credit accounts or securities accounts, you will receive separate statements,  Balance summary information for
  annuities is provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness
  or accuracy,




                                                                                                                    11II11II •••               1773




  CHECKING SUMMARY
                                                                               AMOUNT
  Beginning      Balance                                                   $10,822-49
  Deposits and Additions                                                     3,719,58
  Checks Paid                                                                  -954,80
  Electronic    Withdrawals
  Ending      Balance

  Annual Percentage        Yield Earned This Period                            0,01%
  Interest Paid This Period                                                     $006
  Interest Paid Year-to-Date                                                       ,32

 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect             Checking account




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          CHASEO                                                                 November   22,2017     through   December   21,2017
                                                                                     Primary Account:                        1773




 DEPOSITS AND ADDITIONS
                                                                                                                                 AMOUNT




 Total Deposits       and Additions                                                                                          $3,719,58


 CHECKS PAID
                                                                                                        DATE
 CHECK NO,               DESCRIPTION                                                                    PAID                     AMOUNT
          1\




 Total Checks Paid

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 , All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements.
 1\   An image of this check may be available for you to view on Chase.com.


 IELECTRONIC WITHDRAWALSI
  DATE         DESCRIPTION                                                                                                       AMOUNT




 Total Electronic      Withdrawals




                                                                                                                    Page 2 014




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         CHASEO                                                                                    November      22,2017 through December 21,2017
                                                                                                           Primary Account:                         1773




                                                                                                                                     ••••                   5037



    SAVINGSSU
                                                                                               AMOUNT
  Beginning     Balance                                                                    $22,801,70
  Deposits and Additions
  Ending    Balance

  Annual Percentage       Yield Earned This Period                                              0,03%
  Interest Paid This Period                                                                     $0,60
  Interest Paid Year-to-Date                                                                     S406

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


            SACTION D
  DATE        DESCRIPTION                                                                                                      AMOUNT                    BALANCE

                Beginning     Balance                                                                                                             $22,801.70




 You earned a higher interest rate on your Chase Plus Savings account during this staternent                          period because you had a
 qualifying Chase Premier Plus Checking account.




  IN CASE OF ERRORS OR QUESTIONS               ABOUT YOUR ELECTRONIC            FUNDS TRANSFERS:       Call us at 1-866-564-2262 or write us a! the
  address on the front of this statement (non-personal   accounts contact Customer Service) immediately if you think your statement or receipt is
  incorrect or if you need more information about a transfer listed on the statement or receipt
  For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
  appeared. Be prepared to give us tho following information:
                  Your name and account number
            •     The dollar amount of the suspected error

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 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation,

  IN CASE OF ERRORS       OR QUESTIONS        ABOUT    NON·ELECTRONIC         TRANSACTIONS:        Contact the bank imrncdintcty        if your statement    is

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                                                                                                                                                       tW'r ,
 Account Rules and Regulations or other applicable account agreement that governs your account.             Deposit products    and services    are offered by
 JPMorgan Chase Bank, N.A, Member FDIC


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                                                                                                  LENDER
                                                                                                              JPMorgan    Chase    Bank,    N,A. Member       FDIC




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                                                                   SB1217566-F1                                                                                             1266
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                             SB1217566-F1                                                       1268
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          CHASEO                                                                      December   22. 2017 through January        23.2018
          JPMorgan Chase Bank, NA
          POBox 659754
                                                                                         Primary Account:                                 773
          San Antonio, TX 78265 - 9754

                                                                                    CUSTOMER SERVICE INFORMATION
                                                                                   Web site:                                Chase.com
                                                                                   Service Center:                  1-800-935-9935
      00001263 ORE 201 14202418 NNNNNNNNNNN T 1 000000000350000                    Deaf and Hard of Hearing:         1-800-242-7383
      MUHAMMAD N SIDDIQI                                                           Para Espanol                      1-877 -312-4273
      3020 BIGTOWN BLVD                                                            International Calls:              t-7t3-262-1679
      MESQUITE TX 75150-2412




 We eliminated a fee for sending certain online international wires and updated our Deposit
 Account Agreement

 The following changes were made November          12. 2017:

             There is no Chase fee when you use chase, com or the Chase Mobile® app to send a wire transfer from a checking
             account to a bank outside of the US in a foreign currency when the transfer amount is the equivalent of USD
             S5.000 or more, As a reminder, there is never a Chase fee to send a wire from a Chase Private Client Checking
             account

             We published an updated version of our Deposit Account Agreement You can get the latest agreement                       at
             chase, com/disclosures, at a branch or by request when you call us, Here's what you should know:

                       We didn't change how we calculate your Available   Balance but we clarified how it's defined       (Definitions)

                       We added language to explain our duty to act in good faith and with reasonable       care, (General Account
                       Terms. Section I, Rules Governing your Account)

                       We added language to explain how we would notify you if we ever transferred your account to a different
                       business unit within JPMorgan Chase Bank, (General Account Terms, Section I, Changes to the
                       Agreement)

 Please call us at the number on this statement     if you have any questions,


 -----------
  ASSETS
  Checking      & Savings                                        ACCOUNT                          BEGINNING BALANCE                  ENDING BALANCE
                                                                                                          THIS PERIOD                    THIS PERIOD

  Chase Premier Plus Checking
  Chase Plus
  Total



  TOTAL       ASSETS                                                                                        $27,790.19                      $28,602.39


  All Summary Balances shown are as of January 23. 2018 unless otherwise stated,          For details of your retirement
  accounts, credit accounts or securities accounts, you will receive separate statements,   Balance summary information for
  annuities is provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness
  or accuracy,



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                                                           SB1217566-F1                                                                                         1273
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          CHASEO                                                                           December      22, 2017 through January        23, 2018
                                                                                                 Primary Account:                         1773




                                                                                                                           ••••                 111773




                                                                                        AMOUNT
     Beginning     Balance                                                        $2,918.83
     Deposits and Additions                                                         8,566.55
  Checks Paid                                                                           -699.80
     Electronic   Withdrawals                                                      -5,481.79
  Other Withdrawals                                                                -1
     Ending Balance

  Annual Percentage          Yield Earned This Period                                   0.01%
     Interest Paid This Period                                                           $0.03
     Interest Paid Year-to-Date                                                          SO.03

 Interest paid in 2017 for accountll •••••              1773 was $132.

 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect                     Checking account.



 DEPOSITS AND ADDITIONS




 Total Deposits and Additions                                                                                                             $8,566,55


 CHECKS PAID
                                                                                                                    DATE
 CHECK NO.                DESCRIPTION                                                                               PAID                       AMOUNT
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 Total Checks Paid

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,        either because they haven't cleared yet or they were listed on
   one of your previous statements.
 A    An image of this check may be available for you to view on Chase.corn.




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                                                              SB1217566-F1                                                                                      1274
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         CHASEO                                                                December     22, 2017 through January   23, 2018
                                                                                    Primary Account:                    1773




 IELECTRONIC WITHDRAWALSI
           DESCRIPTION                                                                                                       AMOUNT




 Total Electronic    Withdrawals                                                                                        $5,481.79


           ER WITHDRAWALS
  DATE     DESCRIPTION                                                                                                       AMOUNT
 12/26     12/23 Withdrawal                                                                                             S1,00000
 Total Other Withdrawals                                                                                                $1,000.00




                                                                                                           ii•••               5037




 ISAVINGS             SUMMARY              1----------------               AMOUNT
  Beginning   Balance                                                   $24,871,36
  Deposits and Addilions                                                  2,927.24
  Elec1ronic Withdrawals
  Ending   Balance

  Annual Percentage      Yield Earned This Period                           0.03%
  Interest Paid This Period                                                 $0.72
  Interest Paid Year-la-Date                                                 SO 72

 Interest paid in 2017 for accaun •••••             5037 was $4.06.

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.




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                                                           SB1217566-F1                                                                      1275
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         CHASEO                                                                                      December      22, 2017 through January   23, 2018
                                                                                                          Primary Account:                     1773



 TRANSACTION DETAIL
  DATE        DESCRIPTION                                                                                                    AMOUNT                 BALANCE

                 Beginning       Balance                                                                                                      $24,871.36




 You earned a higher interest rate on your Chase Plus Savings account during this statement                           period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS              ABOUT YOUR ELECTRONIC             FUNDS TRANSFERS:      Call us at 1-866-564-2262  or write us at the
 address on the front of this statement (non-personal  accounts contact Customer Service) immediately if you think your statement or receipt is
 incorrect or if you need more information about a transfer listed on the statement or receipt
  For personal accounts only: We must hear Irom you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared.    Be prepared to give us the following information:
          •     Your name and account number
          •     The dollar amount of the suspected error

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 accounts) to do this, we will credit your account lor the amount you think IS in error so that you will have use of the money during the lime it takes
 LlS to complete our investigation.

 IN CASE OF ERRORS OR QUESTIONS                ABOUT NON·ELECTRONIC           TRANSACTIONS:      Contact the bank immediately if your statement is
 incorrect or if you need m.ore information abo.ut any non-electronic transactions {checks or deposits) on this statement. If any. such error appears,
 you must notity the bank   Inwriting no later than 30 days after the statement was made available to      (J0U'
                                                                                                             For more complete details, see the
 ~~M~r;~~~~~:~~~;~,u~~~~nM~~b~~FD~t!ICable account agreement that governs your account eposit products and services are offered by


                                                                                                 ~           JPMorgan Chase Bank, N.A. Member FDIC
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             'Mesquita, TX 75150-2412
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          CHASEO                                                                   January    24, 2018 through   February       22, 2018
          JPMorgan Chase Bank, NA
          POBox 659754
                                                                                        Primary Account:                             1773
          San Antonio, TX 78265 - 9754

                                                                                CUSTOMER SERVICE INFORMATION
                                                                               Web site:                                    Chase.com
                                                                               Service Center:                      1-800-935-9935
      00001259 ORE 201 14205418 NNNNNNNNNNN T 1 000000000350000                Deaf and Hard of Hearing:            1-800-242-7383
      MUHAMMAD N SIDDIQI                                                       Para Espanol                         1-877 -312-4273
      3020 BIGTOWN BLVD                                                        International Calls:                  t-7t3-262-1679
      MESQUITE TX 75150-2412




 -----------
  ASSETS
  Checking      & Savings                                     ACCOUNT                            BEGINNING BALANCE                   ENDING BALANCE
                                                                                                         THIS PERIOD                     THIS PERIOD
  Chase Premier Plus Checking                                                                               S4,303,79                     $2,412,75
  Chase Plus Savings                                                                                        24,298,60                         975,77
  Total                                                                                                    $28,602.39                      $3,388.52



  TOTAL        ASSETS                                                                                      $28,602.39                      $3,388.52



  All Summary Balances shown are as of February 22, 2018 unless otherwise stated          For details of your retirement
  accounts, credit accounts or securities accounts, you will receive separate statements,  Balance summary information for
  annuities is provided by the issuing insurance companies and believed to be reliable without guarantee of its completeness
  or accuracy,




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  CHECKING SUMMARY
                                                                               AMOLJNT
  Beginning      Balance                                                    $4,303,79
  Deposits and Additions                                                    13,184,22
  Checks Paid                                                                  -562,80
  Electronic    Withdrawals                                                -14,410.46
  Fees                                                                         -102,00
  Ending      Balance

  Annual Percentage        Yield Earned This Period                            0,01%
  Interest Paid This Period                                                     $0,02
  Interest Paid Year-to-Oate




                                                                                                                    P~g.(;'!1   of   4




                                                       SB1217566-F1                                                                                           1283
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                               Desc
       Exhibit Z Declaration of JPMorgan Chase Bank Page 51 of 190




         CHASEO                                                                       January   24, 2018 through   February   22,2018
                                                                                        Primary Account:                        1773




 Interest paid in 2017 for account •••••             1773 was $1.32.

 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect            Checking account.



 DEPOSITS AND ADDITIONS
  DATE            DESCRIPTION                                                                                                        AMOUNT




 Total Deposits        and Additions                                                                                          $13,184,22


 CHECKS PAID
                                                                                                          DATE
 CHECK NO,                  DESCRIPTION                                                                   PAID                       AMOUNT
         /\




 Total Checks        Paid                                                                                                           $562.80

 If you see a description in the Checks Paid section. it means that we received only electronic information about the check,
 not the original or an image of the check. As a result. we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,     either because they haven't cleared yet or they were listed on
   one of your previous statements.
 /\ An image of this check may be available for you to view on Chaso.com.


 IELECTRONIC WITHDRAWALSI
                                                                                                                                     AMOUNT




 02122        Affiliated   Bank   Loan Paymt 0073249344     Web 10: 90114                                                           3,513.29
 Total Electronic          Withdrawals                                                                                        $14,410,46




                                                                                                                       Page 2 014




                                                            SB1217566-F1                                                                              1284
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          CHASEO                                                                                           January    24, 2018 through     February   22,2018
                                                                                                                Primary   Account:                      1773




                                                                                                                                                             AMOUNT
                                                                                                                            A1980                             $34,00



 02116        Insufficient Funds Fee For A $39,95 Item - Details: Nafmd                             Phonecheck                       Tel                        34,00
              10 3383693141
 Total Fees                                                                                                                                                  $102_00


IOVERDRAFT AND RETURNED ITEM FEE SUMMARyl
                                                                                                                        Total for                           Total
                                                                                                                     This Period                   Year-to-date
 Total Overdraft       Fees'                                                                                             $102,00                        5102,00
 Total Returned        Item Fees                                                                                                                                S,OO

 • Total Overdraft    Fees includes   Insufficient   Funds Fees, and Extended   Overdrait   Fees




                                                                                                                                           ___                .,.5037




 I     SAVINGS SUMMARY                                  I
                                                                                                      AMOUNT
     Beginning       Balance                                                                       $24,298,60
     Deposits and Additions                                                                          2,452,17
     Electronic   Withdrawals
     Ending   Balance

     Annual Percentage         Yield Earned This Period                                                0,03%
     Interest Paid This Period                                                                         $0,32
     Interest Paid Year-to-Date                                                                         51,04

 Interest paid in 2017 for account 000001835055037                    was $4,06,

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 ITRANSACTION DETAILI                                                                                                                                           _
  DATE            DESCRIPTION                                                                                                        AMOUNT                  BALANCE

                     Beginning    Balance                                                                                                             $24,298,60




                                                                                                                                               Page 3 01 4




                                                                        SB1217566-F1                                                                                           1285
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         CHASEO                                                                                     January   24, 2018 through    February     22,2018
                                                                                                       Primary Account:                           1773


                                                   (continued)
   RANSACTION DETAIL
                                                                                                                          AMOUNT                       BALANCE
                                                             PPD ID: 1800515783                                                                    1


 02/22       Interest Payment
                Ending Balance                                                                                                                         $975,77

 You earned a higher interest rate on your Chase Plus Savings account during this staternent                      period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS                  ABOUT YOUR ELECTRONIC            FUNDS TRANSFERS;          Call us at 1-866-564-2262 or write us at the
 address on the front of this statement (non-personal      accounts contact Customer Service] immediately if you think your statement or r-eceipt is
 incorrect or il you need more information about a transter listed on the statement or receipt
 For personal accounts only: We must hear tram you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared, Be prepared to give us the following information:
                 Your name and account number
                 The dollar amount of the suspected error
           •     A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
 We will investigate your complaint and will correct any error promptly.     If we take more than 10 business days (or 20 business days lor new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.

 IN CASE OF ERRORS OR QUESTIONS               ABOUT NON·ELECTRONIC           TRANSACTIONS:      Contact the bank immediately if your statement is
 incorrect or if you need more Information about any non-electronic transactions {checks or de-posits) on this statement. It any such error appears,
 you must notify the bank in writing no later than 30 days after the statement was made available to you, For more complete details, see the
 Account Rules and Regulations or other applicable account agreement that governs your account Deposit products and services are offered by
 JPMorgan Chase Bank, NA         Member FDIC


                                                                                                          JPMorgan     Chase     Bank,    NA     Member     FDIC




                                                                                                                                         Page 4 01 4




                                                                   SB1217566-F1                                                                                           1286
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12-Apr-21

12Apr21-2530

This is a substitute document representing a CASH IN TICKET

Posting Date 20-Feb-18

Sequence number 005590055097

Amount 4500.00

Account Number 1773

Date Request Received 12-Apr-21




                                   SB1217566-F1                                1290
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          CHASEO                                                                          February23, 2018 throughMarch21, 2018
          JPMorganChase Bank,NA
          POBox 182051
                                                                                              PrimaryAccount:_1773
          Columbus, OH 43218 -2051

                                                                                      CUSTOMER SERVICE INFORMATION
                                                                                      Web site:                              Chase.com
                                                                                      Service Center:                1-800-935-9935
      00001239DRE20114208118NNNNNNNNNNNT              1000000000350000                Deaf and Hard of Hearing:      1-800-242-7383
      MUHAMMAD N SIDDIQI                                                              Para Espanol                   1-877 -312-4273
      3020 BIGTOWN BLVD                                                               International Calls:            1-713-262-1679
      MESQUITE TX 75150-2412




 -----------
  ASSETS
  Checking      & Savings                                                ACCOUNT                     BEGINNING BALANCE                ENDING BALANCE
                                                                                                            THIS PERIOD                   THIS PERIOD
  Chase Premier Plus Checking                                                                                S2,412.75                    $14.41081
  Chase Plus Savings                                                                                            975.77                        878.74
  Total                                                                                                      $3,388.52                    $15,289.55



  TOTAL        ASSETS                                                                                        $3,388.52                    $15,289.55




                                                                                                                  ••••                      1773




  CHECKING SUMMARY
                                                                                     AMOLJNT
  Beginning      Balance                                                           $2,412.75
  Deposits and Additions                                                           21,806.08
  Checks Paid                                                                      -2,636.59
  Electronic    Withdrawals                                                        -7,103.43
  Fees                                                                                -68.00
  Ending     Balance

  Annual Percentage        Yield Earned This Period                                   0.01%
  Interest Paid This Period                                                           $0.04
  Interest Paid Year-to-Oate

 Interest paid in 2017 for account •••••                17173was SI.32.

 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect             Checking account.




                                                                                                                     P~g.(;'!1   of   4




                                                                SB1217566-F1                                                                                  1292
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        CHASEO                                                                       February 23. 2018 through   March 21. 2018
                                                                                      Primary Account:                    1773




 DEPOSITS AND ADDITIONS
                                                                                                                               AMOUNT
                                                      PPD ID 9111111101




 Total Deposits     and Additions                                                                                       $21,806.08


 CHECKS PAID
                                                                                                       DATE
 CHECK NO.               DESCRIPTION                                                                   PAID                    AMOUNT
        /\                                                                                             (
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        /\                                                                                             (
        /\                                                                                             (
 1560   /\                                                                                             03/16                      18.00
 9127   ."                                                                                             03/13                   500.00
 Total Checks     Paid                                                                                                    $2,636.59

 If you see a description in the Checks Paid section. it means that we received only electronic information about the check,
 not the original or an image of the check. As a result. we're not able to return the check to you or show you an image .
 • All of your recent checks may not be on this statement.   either because they haven't cleared yet or they were listed on
   one of your previous statements.
 /\ An image of this check may be available for you to view on Chase.corn.




                                                                                                                               AMOUNT
                                                                                                                                    00




                                                                                                                               191.00




 Total Electronic    Withdrawals




                                                                                                                  Page 2 014




                                                        SB1217566-F1                                                                             1293
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         CHASEO                                                                                           February 23. 2018 through         March 21. 2018
                                                                                                               Primary Account:                       1773




                                                                                                                                                           AMOUNT




 Total Fees                                                                                                                                                 $68.00


       •.. ,•.•• AFT AND RETURNED ITEM FEE SUMMARYI
                                                                                                                       Total for                          Total
                                                                                                                    This Period                  Year-to-date
 Total Overdraft       Fees'                                                                                             $68.00                        S170.00
 Total Returned        Item Fees                                                                                            $.00                              S.OO

 , Total Overdraft    Fees includes   Insufficient   Funds Fees, and Extended   Overdrait   Fees




                                                                                                                                       ••••                   5037



     SAVINGSSU
                                                                                                     AMOUNT
  Beginning          Balance                                                                        $975.77
  Deposits and Additions                                                                           2.902.97
  Electronic    Withdrawals                                                                        -3.000.00
  Ending Balance                                                                                    $878.74

  Annual Percentage            Yield Earned This Period                                              0.03%
  Interest Paid This Period                                                                           $0.03
  Interest Paid Year-to-Date                                                                          SI.07

 Interest paid in 2017 for account ••••                       IS037 was $4.06.
 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.



 TRANSACTION DETAIL
  DATE          DESCRIPTION                                                                                                        AMOUNT                  BALANCE

                     Beginning    Balance                                                                                                                  $975.77




                                                                                                                                             Page 3 01 4




                                                                        SB1217566-F1                                                                                        1294
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        CHASE                               0                                          DEPOSIT                                      SAVINGS
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                                       M. SIDDIQI                                                      32-'111110
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                                      3020 Bi~ Town Blvd
                                  Mesquite. TX 75160-2412




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          CHASEO                                                                            April 21, 2018 through May 21, 2018
          JPMorgan Chase Bank, NA
          POBox    182051
                                                                                           Primary Account:                       1773
          Columbus, OH 43218 -2051

                                                                                      CUSTOMER SERVICE INFORMATION
                                                                                      Web site:                              Chase.com
                                                                                      Service Center:                1-800-935-9935
      00001235 ORE 201 14214218 NNNNNNNNNNN T 1 000000000350000                       Deaf and Hard of Hearing:      1-800-242-7383
      MUHAMMAD N SIDDIQI                                                              Para Espanol                   1-877 -312-4273
      3020 BIGTOWN BLVD                                                               International Calls:           1-713-262-1679
      MESQUITE TX 75150-2412




 We want to remind you about the overdraft service options that are available for your personal
 checking account(s)

 We've included information on the last page of this statement to remind you about our overdraft services and associated
 fees. You can find more information about these services and fees online at chase.com/overdraft-services.    Additionally,
 you can find ways to avoid overdraft fees at chase.com/AccountTips.

 If you have questions.     please call us anytime at the number on your statement.


 _:-----------
  ASSETS
  Cheoking      & Savings                                        ACCOUNT                           BEGINNING BALANCE             ENDING BALANCE
                                                                                                           THIS PERIOD               THIS PERIOD

  Chase Premier Plus Checking
  Chase Plus
  Total



  TOTAL       ASSETS                                                                                          $16,960.95              $14,235.09




                                                                                                                     P~g.(;'!1 of 6




                                                           SB1217566-F1                                                                                   1311
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         CHASEO                                                                             April 21, 2018 through   May 21,2018
                                                                                           Primary Account:   _1773




                                                                                                                     •••                 _1773




                                                                                 AMOUNT
  Beginning     Balance                                                       $13,309.41
  Deposits and Additions                                                        5,272.18
  Checks Paid                                                                  -1,428.20
  Electronic   Withdrawals                                                     -6,577.34
  Other Withdrawals
  Ending     Balance

  Annual Percentage       Yield Earned This Period                                0.01%
  Interest Paid This Period                                                       $0.10
  Interest Paid Year-to-Date                                                       SO.32

 The monthly service fee for this account was waived as an added feature of Chase BusinessSelecl               Checking account.



 DEPOSITS AND ADDITIONS
  DATE          DESCRIPTION                                                                                                             AMOUNT




 Total Deposits and Additions




                                                                                                              DATE
 CHECK NO.               DESCRIPTION                                                                          PAID                      AMOUNT




 Total Checks     Paid                                                                                                             $1,428.20

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image
 , All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
   one of your previous statements.
 A   An image of this check may be available for you to view on Chase.corn.




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                                                         SB1217566-F1                                                                                   1312
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          CHASEO                                                                                                April 21, 2018 through   May 21,2018
                                                                                                               Primary Account:                      1773




 IELECTRONIC WITHDRAWALSI
                                                                                                                                                          AMOUNT




  Total Electronic         Withdrawals                                                                                                               $6,577.34


 laTHER WITHDRAWALsl
  DATE        DESCRIPTION                                                                                                                                 AMOUNT
  05/14       05/14 Withdrawal                                                                                                                       52,500.00
  Total Other Withdrawals                                                                                                                            $2,500.00


          •.. ,•...•AFT AND RETURNED ITEM FEE SUMMARYI
                                                                                                                       Total for                         Total
                                                                                                                    This Period                 Year-to-date
 Total Overdraft        Fees'                                                                                               $.00                       S170.00
 Total Returned         Item Fees                                                                                           $.00                           5.00

 'Total   Overdraft    Fees includes   Insufficient   Funds Fees, and Extended   Overdralt   Fees




                                                                                                                                         ____               5037




     SAVINGS SUMMARY
                                                                                                       AMOUNT
   Beginning          Balance                                                                       $3,651.54
   Deposits and Additions
   Ending Balance

   Annual Percentage            Yield Earned This Period                                              0.03%
   Interest Paid This Period                                                                           $0.12
   Interest Paid Year-to-Date                                                                          51.25


                                                                                                                                            Page 3 01 6




                                                                         SB1217566-F1                                                                                     1313
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         CHASEO                                                                                          April   21, 2018 through May 21,2018
                                                                                                       Primary Account:                       1773


 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


            SACTION D
  DATE       DESCRIPTION                                                                                                  AMOUNT                   BALANCE

                                                                                                                                              $3,651.54




 You earned a higher interest rate on your Chase Plus Savings account during this staternent                        period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS                  ABOUT YOUR ELECTRONIC           FUNDS TRANSFERS,            Call us at 1-866-564-2262 or write us at the
 address on the front of this statement (non-personal      accounts contact Customer Service) immediately if you think your statement or receipt is
 incorrect or if you need more information about a transf-er listed on the statement or receipt
 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:
                 Your name and account number
                 The dollar amount of the suspected error
                 A description of the error o~ transfer you are unsure ot, why you b-elieve it is an error, ,or why you need more information.
 We will investigate your complaint and w!11correct any error promptly.      H we take more than 10 business days (or 20 business days for new
 accounts) to do this, we "Yill credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation,




                                                                                                           JPMorgan Chase Bank, NA Member FDIC




                                                                                                                                     Page 4 01 6




                                                                   SB1217566-F1                                                                                     1314
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                 M. SIDDIQI:                         32-61J111D               1563-

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                3020 B'g Town Blvd
             'Mesq\Jit~, TX 75150-2412




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          CHASEO                                                                          May 22. 2018 through   June 21. 2018
          JPMorgan Chase Bank, NA
          POBox 182051
                                                                                         Primary Account:                           1773
          Columbus, OH 43218 -2051

                                                                                  CUSTOMER SERVICE INFORMATION
                                                                                  Web site:                                Chase.com
                                                                                  Service Center:                   1-800-935-9935
      00001205 ORE 201 14217318 NNNNNNNNNNN T 1 000000000350000                   Deaf and Hard of Hearing:         1-800-242-7383
      MUHAMMAD N SIDDIQI                                                          Para Espanol                      1-877 -312-4273
      3020 BIGTOWN BLVD                                                           International Calls:              t-7t3-262-1679
      MESQUITE TX 75150-2412




 We updated our Deposit Account and Wire Agreements

 The following changes were made May 20. 2018:

                 We published an updated version of our Deposit Account Agreement You can get the latest agreement                      at
                 chase. com/disclosures, at a branch or by request when you call us. Here are some important changes:

                          Effective August 1, we will notify you in advance of any changes to the Deposit Account Agreement
                          that would adversely affect you, unless the change is necessary to comply with a legal requirement.
                          (General Account Terms, Section I, Changes to the agreement)

                          We clarified the language that explains when we may charge a Non-Chase ATM fee for balance
                          inquiries and transfers when you use a non-Chase ATM. (Electronic Funds Transfer Service Terms,
                          Section A. Types of EFT Services)

                 We consolidated all of our Chase wire agreements, except for the Online Wire Agreement. In addition to
                 making sure the terms and definitions of the Wire Transfer Agreement are consistent, we made the following
                 changes:

                          When we amend the agreement, we will send you notice of the change and may refer you to a branch
                          or your banker for the updated agreement

                          When you send a wire, we will send you an email notification   on the status of your wire if you have
                          provided your email address.

 Please call us at the number on this statement    if you have any questions.



 -----------
  ASSETS
  Checking & Savings                                            ACCOUNT                           BEGINNING BALANCE                 ENDING BALANCE
                                                                                                          THIS PERIOD                   THIS PERIOD

  Chase Premier Plus Checking
  Chase Plus
  Total



  TOTAL       ASSETS                                                                                        $14,235.09                  $12,917.31




                                                                                                                   P~g.(;'!1   of   4




                                                          SB1217566-F1                                                                                       1321
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       Exhibit Z Declaration of JPMorgan Chase Bank Page 68 of 190




           CHASEO                                                                           May 22, 2018 through June 21,2018
                                                                                           Primary Account:                       1773




                                                                                                                  •••••                  1773




                                                                                  AMOUNT
   Beginning     Balance                                                        $8,076.05
   Deposits and Additions                                                        5,272.15
   Checks Paid                                                                  -1,283.00
   Electronic   Withdrawals
   Ending     Balance

   Annual Percentage        Yield Earned This Period                              O.Ot%
   Interest Paid This Period                                                       $0.07
   Interest Paid Year-to-Date                                                      SO.39

 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect              Checking account.


 DEPOSITS AND ADDITIONS
  DATE           DESCRIPTION                                                                                                           AMOUNT




 Total Deposits         and Additions                                                                                             $5,272,15


 CHECKS P

                           DESCRIPTION




 Total Checks      Paid                                                                                                           $1,283.00
 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image .
 • All of your recent checks may not be on this statement,    either because they haven't cleared yet or they were listed on
   one of your previous statements.
 to.   An image of this check may be available for you to view on Chase. com.




                                                                                                                          Page 2 014




                                                          SB1217566-F1                                                                                 1322
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                Desc
       Exhibit Z Declaration of JPMorgan Chase Bank Page 69 of 190




         CHASEO                                                                                                  May 22, 2018 through June 21,2018
                                                                                                                Primary Account                   1773




 IELECTRONIC WITHDRAWALSI
  DATE       DESCRIPTION                                                                                                                               AMOUNT
 05124




 06114




 Total Electronic         Withdrawals                                                                                                             $6,758,58


       ERDRAFT AND RETURNED ITEM FEE SUMMARY
                                                                                                                       Total for                      Total
                                                                                                                    This Period              Year-to-date
 Total Overdraft       Fees *                                                                                                $00                  S170.00
 Total Returned        It ern Fees                                                                                           $.00                        S.OO

 • Total Overdraft    Fees includes   Insufficient   Funds Fees. and Extended   Overdraft   Fees




                                                                                                                                     ••••              15037

     SAVINGSSU
                                                                                                     AMOUNT
  Beginning          Balance                                                                       $6,159,04
  Deposits and Additions                                                                            1      .65
  Ending Balance

  Annual Percentage            Yield Earned This Period                                                 0,03%
  Interest Paid This Period                                                                             $0.18
  Interest Paid Year-to-Date                                                                            SI,43

 The rnonthly service fee for this account was waived as an added feature of Chase Prernier Plus Checking account.




                                                                                                                                         Page 3 01 4




                                                                        SB1217566-F1                                                                                   1323
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                             Desc
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         CHASEO                                                                                          May 22, 2018 through June 21,2018
                                                                                                       Primary Account                        1773




 TRANSACTION DETAIL
  DATE       DESCRIPTION                                                                                                  AMOUNT                   BALANCE

                Beginning     Balance                                                                                                         $6,159.04

 06/01       Helping Hestore       Payroll                  PPDID:     9751562334                                        1,451.47              7,610.51
 06/21       Interest Payment                                                                                                 0.18             7,610.69
                Ending Balance                                                                                                                $7,610.69

 You earned a higher interest rate on your Chase Plus Savings account during this statement                        period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1·866·564·2262 or write us at the
 address on the front of this statement (non- personal accounts contact Customer Service) immediately If you think your statement or receipt is
 incorrect or if you need more information about a transfer listed on the statement or receipt
 For personal accounts only: We must hear from you no later than 60 days attsr we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:
           •     Your name and account number
           •     The dollar amount of the suspected error
           •     A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information,
 We will investigate your complaint and will correct any error promptly, If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation,
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON·ELECTRONIC TRANSACTIONS:                                 Contact the bank immediately if your statement is
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 Account Rules and Regulations or other applicable account agreement that governs your account Deposit products and services are offered by
 JPMorgan Chase Bank, NA Member FDIC

                                                                                                          JPMorgan Chase Bank, N.A. Member FDIC




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                                                                   SB1217566-F1                                                                                     1324
 Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                Desc
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                                      3020 Big Town Blvd
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Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                            Desc
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          CHASEO                                                                               July 24, 2018 through   August 21, 2018
          JPMorgan Chase Bank, NA
          POBox    182051
                                                                                              Primary Account:                             1773
          Columbus, OH 43218 -2051

                                                                                      CUSTOMER SERVICE INFORMATION
                                                                                      Web site:                                   Chase.com
                                                                                      Service Center:                      1-800-935-9935
      00001215DRE20114223418NNNNNNNNNNNT              1000000000350000                Deaf and Hard of Hearing:            1-800-242-7383
      MUHAMMAD N SIDDIQI                                                              Para Espanol                         1-877 -312-4273
      3020 BIGTOWN BLVD                                                               International Calls:                 t-7t3-262-1679
      MESQUITE TX 75150-2412




 -----------
  ASSETS
  Checking      & Savings                                                ACCOUNT


  Chase Premier Plus Checking
  Chase Plus Savings
  Total                                                                                                          $12,516.82                    $17,856.64



  TOTAL        ASSETS                                                                                            $12,516.82                    $17,856.64




                                                                                                                        ••••                   1·1773



  CHECKING SUMMARY
                                                                                     AMOUNT

  Beginning      Balance                                                           $1,976.52
  Deposits and Additions                                                           14,730.82
  Checks Paid                                                                      -3,496.21
  Electronic    Withdrawals
  Ending Balance

  Annual Percentage        Yield Earned This Period                                  0.01%
  Interest Paid This Period                                                           $0.04
  Interest Paid Year-to-Date

 The monthly service fee for this account was waived as an added feature of Chase BusinessSelect                  Checking account.




                                                                                                                          P~g.(;'!1   of   4




                                                                SB1217566-F1                                                                                       1341
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         CHASEO                                                                        July 24, 2018 through August 21,2018
                                                                                      Primary Account:                  1773




 DEPOSITS AND ADDITIONS




 Total Deposits      and Additions                                                                                    $14,730,82




                                                                                                      DATE
 CHECK NO.              DESCRIPTION                                                                   PAID                   AMOUNT
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 Total Checks Paid

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
   one of your previous statements.
 A   An image of this check may be available for you 10 view on Chase.com.


 IELECTRONIC WITHDRAWALSI
              DESCRIPTION                                                                                                    AMOUNT




 Total Eleotronio     Withdrawals                                                                                     $10,023.13




                                                                                                                Page 2 014




                                                        SB1217566-F1                                                                         1342
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                    Desc
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         CHASEO                                                                                                 July 24, 2018 through   August 21,2018
                                                                                                               Primary Account:                      1773




       •.. ,.., .AFT AND RETURNED ITEM FEE SUMMARYI
                                                                                                                       Tolal for                         Tolal
                                                                                                                    This Period                 Year-lo-date
 Total Overdraf1 Fees'                                                                                                      $00                       S170.00
 Total Returned        Item Fees                                                                                            $.00                            S.OO

 * Total Overdraft    Fees includes   Insufficient   Funds Fees, and Extended   Overdrait   Fees




                                                                                                                                        •••••                5037




                                                                                                      AMOUNT
  Beginning          Balance                                                                       $10,540.30
  Deposits and Additions
  Ending     Balanoe

  Annual Percentage            Yield Earned This Period                                               0.03%
  Interest Paid This Period                                                                            $0.32
  Interest Paid Year-to-Date                                                                           S2.01

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 TRANSACTION DETAIL
  DATE          DESCRIPTION                                                                                                       AMOUNT                  BALANCE

                     Beginning    Balance                                                                                                          $10,540,30




 You earned a higher interest rate on your Chase Plus Savings account during this statement                               period because you had a
 qualifying Chase Premier Plus Checking account.




                                                                                                                                            Page 3 01 4




                                                                        SB1217566-F1                                                                                       1343
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                                                                                                                                        CHECKING      ~
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Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06




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   Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                              Desc
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12-Apr-21

12Apr21-2530

This is a substitute document representing a CASH IN TICKET

Posting Date 01-Aug-18

Sequence number 009290281689

Amount 3000.00

Account Number 1773

Date Request Received 12-Apr-21




                                   SB1217566-F1                                1348
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          CHASEO                                                                       August 22, 2018 through September        24, 2018
          JPMorgan Chase Bank, NA
          POBox 182051
                                                                                           Primary Account:                        1773
          Columbus, OH 43218 -2051

                                                                                    CUSTOMER SERVICE INFORMATION
                                                                                    Web site:                                 Chase.com
                                                                                    Service Center:                   1-800-935-9935
      00001193 ORE 201 14226818 NNNNNNNNNNN T 1 000000000350000                     Deaf and Hard of Hearing:         1-800-242-7383
      MUHAMMAD N SIDDIQI                                                            Para Espanol                      1-877 -312-4273
      3020 BIGTOWN BLVD                                                             International Calls:              t-7t3-262-1679
      MESQUITE TX 75150-2412




 We updated our Deposit Account Agreement

 We published an updated version of our Deposit Account Agreement on August 26, 2018. You can get the latest agreement
 at chase. corn/disclosures, at a branch or by request when you call us. Here's what you should know:

                 We may use your voice to verify your identity. (General Account Terms, Section I, Other Legal Terms,
                 Telephone and electronic communication)
                 We clarified that any provision in the agreement is enforceable to the fullest extent permitted by law. (General
                 Account Terms, Section I, Other Legal Terms, Rules governing your account)

 The following    updates will become effective on November    11, 2018:

                 If an account owner dies while residing outside the United States, we may require the appointment of a
                 personal representative in a US. court. (General Account Terms, Section B, Checks, Withdrawals, Transfers
                 and Other Account Charges, Death or incompetence of account owner or sole signer)
                 Check deposits made by mail and addressed to any Chase facility other than National Bank by Mail, may be
                 forwarded to the National Bank by Mail facility at PO Box 36520, Louisville, KY 40233-6520, and will be
                 considered received on the date the deposit is received by that facility. We do not accept cash deposits by
                 mail. (Funds Availability, When Your Deposit Is Received)




 -----------
 Please call us at the number at the top of this statement




  ASSETS
  Checking      & Savings

  Chase Premier Plus Checking
                                                              if you have any questions.




                                                                 ACCOUNT                            BEGINNING BALANCE
                                                                                                            THIS PERIOD

                                                                                                               S3,188.00
                                                                                                                                  ENDING BALANCE
                                                                                                                                      THIS PERIOD

                                                                                                                                       $5,315.36
  Chase Plus Savings                                                                                           14,668.64                   2,582.70
  Total                                                                                                       $17,856.64               $7,898.06


  TOTAL       ASSETS                                                                                          $17,856.64                  $7,898.06




                                                                                                                      P~g.(;'!1 of 6




                                                          SB1217566-F1                                                                                       1359
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          CHASEO                                                                    August 22, 2018 through         September   24, 2018
                                                                                          Primary Account:                        1773




                                                                                                                     ••••              11773


                                                                                AMOUNT
  Beginning          Balance                                                  $3,188,00
  Deposits and Additions                                                      11,822.11
  Checks Paid                                                                   -843.79
  ATM & Debit Card Withdrawals                                                   -43.58
  Electronic        Withdrawals                                               -8,782.38
  Fees                                                                           -25.00
  Ending          Balance

  Annual Percentage             Yield Earned This Period                         0.01%
  Interest Paid This Period                                                      $0.03
  Interest Paid Year-to-Date                                                     SO.51


 DEPOSITS AND ADDITIONS
  DATE               DESCRIPTION                                                                                                      AMOUNT




 Total Deposits             and Additions                                                                                       $11,822,11


 CHECKS PAID
                                                                                                             DATE
 CHECK NO,                     DESCRIPTION                                                                   PAID                     AMOUNT
 905     1\                                                                                                  09/06                    S61 .(
 1015     *"                                                                                                 09/21                         .(

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 Total Checks          Paid                                                                                                           $843,79

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
   one of your previous statements,
 A   An image of this check may be available for you to view on Chase.corn.




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                                                           SB1217566-F1                                                                                1360
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         CHASEO                                                                     August 22, 2018 through   September   24, 2018
                                                                                       Primary Account:                     1773




 IATM & DEBIT CARD WITHDRAWALSI
  DATE     DESCRIPTION                                                                                                           AMOUNT




 Total ATM & Debit Card Withdrawals


 IELECTRONIC WITHDRAWALSI
  DATE    DESCRtPTION                                                                                                            AMOUNT




 Total Electronic   Withdrawals                                                                                             $8,782,38




  DATE    DESCRtPTION                                                                                                            AMOUNT
 09/24    Month Iy Service Fee                                                                                                   $25,00
 Total Fees                                                                                                                      $25,00


 WANT TO AVOID PAYING A MONTHLY              SERVICE     FEE ON YOUR CHECKING        ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
 this fee during any statement period.
 •     Have an average qualifying   deposit and investment    balance of at least $15,000,00 during your
       statement period,
       (Your average qualifying deposit and investment balance was S7,306.00)

     Talk to a banker about transferring   your balances to Chase today!

     OR, authorize us to make automatic    payments       to your qualifying   Chase mortgage     from your Chase account,
     (You do not have a qualifying Chase mortgage)

     Talk to a banker about a Chase mortgage!

 Stop in today   and explore   all Chase has to offer,




                                                                                                                   Page 3 01 6




                                                          SB1217566-F1                                                                           1361
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         CHASEO                                                                                           August 22, 20t8     through   September   24, 2018
                                                                                                                Primary Account:                      1773




       •.. ,.., .AFT AND RETURNED ITEM FEE SUMMARYI
                                                                                                                        Total for                         Total
                                                                                                                     This Period                 Year-la-dale
 Total Overdraf1 Fees'                                                                                                       $00                       S170.00
 Total Returned        Item Fees                                                                                             $.00                            S.OO

 * Total Overdraft    Fees includes   Insufficient   Funds Fees, and Extended   Overdrait   Fees




                                                                                                                                         •••••                5037




                                                                                                      AMOUNT
  Beginning          Balance                                                                       $14,668.64
  Deposits and Additions                                                                             6,949.06
  Electronic    Withdrawals                                                                        -19,000.00
  Fees                                                                                                 -35.00
  Ending Balance

  Annual Percentage            Yield Earned This Period                                               0.03%
  Interest Paid This Period                                                                            $0.11
  Interest Paid Year-to-Date                                                                           S2.12

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.



       ANSACTION D
  DATE          DESCRIPTION                                                                                                        AMOUNT                  BALANCE

                     Beginning    Balance                                                                                                           $14,668,64




                National Bank Grand Ridge IL 61325 US Ref: For Further Credit To: Vibrant
                Media Group LLC 1069 W Golf Rd Hoffman Estates IL 60169
                Act#00200084131mad                       123 Trn 5322100235Es




                Interest Payment
                     Ending Balance



                                                                                                                                             Page 4 01 6




                                                                        SB1217566-F1                                                                                        1362
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           Exhibit Z Declaration of JPMorgan Chase Bank Page 83 of 190


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Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06




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                                                                                                                                                                                                                             purchase date, not to exceed $126
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12-Apr-21

12Apr21-2530

This is a substitute document representing a CASH IN TICKET

Posting Date 20-Sep-18

Sequence number 005570661309

Amount 2000.00

Account Number 1773

Date Request Received 12-Apr-21




                                   SB1217566-F1                                1371
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          CHASEO                                                              September   25, 2018 through   October       22,2018
         JPMorgan Chase Bank, NA
         POBox    182051
                                                                                   Primary Account                             1773
         Columbus, OH 43218 -2051

                                                                            CUSTOMER SERVICE INFORMATION
                                                                            Web site:                                 Chase.com
                                                                            Service Center:                   1-800-935-9935
      00001185 ORE 201 14229618 NNNNNNNNNNN T 1 000000000350000             Deaf and Hard of Hearing:         1-800-242-7383
      MUHAMMAD N SIDDIQI                                                    Para Espanol                      1-877 -312-4273
      3020 BIGTOWN BLVD                                                     International Calls:               1-713-262-1679
      MESQUITE TX 75150-2412




 IIIIIIIIIIIIIII~------------------
  ASSETS
  Checking & Savings                                          ACCOUNT                      BEGINNING BALANCE                   ENDING BALANCE
                                                                                                   THIS PERIOD                     THIS PERIOD
  Chase Premier Plus Checking
  Chase Plus Savings                                                                                  2,582.70                         1,868.87
  Total                                                                                              $7,898.06                        $2,847.90



  TOTAL        ASSETS                                                                                $7,898.06                        $2,847.90




                                                                                                         •••••                        1773




  CHECKING SUMMARY
                                                                           AMOLJNT
  Beginning      Balance                                                $5,315.36
  Deposits and Additions                                                  8,672.29
  Checks Paid                                                              -605.00
  ATM & Debit Card Withdrawals                                             -777.80
  Electronic    Withdrawals                                             -11,600.82
  Fees                                                                      -25.00
  Ending Balance

  Annual Percentage        Yield Earned This Period                        0.01%
  Interest Paid This Period                                                 $002
  Interest Paid Year-to-Date




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                                                       SB1217566-F1                                                                                      1373
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          CHASEO                                                                                                September 25, 2018 ~2,                   20t8
                                                                                                                   Primary Account: ~1773




 DEPOSITS AND ADDITIONS




 Total Deposits       and Additions




                                                                                                                                  DATE
 CHECK NO,                DESCRIPTION                                                                                             PAID                   AMOUNT
         1\




 Total Checks Paid

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check, As a result, we're not able to return the check to you or show you an image,
 , All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
   one of your previous statements,
 1\   An image of this check may be available for you to view on Chase.com,



 IATM & DEBIT CARD WITHDRAWALSI
  DATE        DESCRIPTION                                                                                                                                AMOUNT
 09125        Card Purchase             09/24 Sq "Kabobi Fresh Medite Richardson TX Card 31 10                                                            $2298
 tOIOI         :arc   urcnase           09129                .iv   Dallas Jallas I A Card 31 10                                                                150
 10/01         :arc   'urchase          09/29      1189~                             Plano TX Cal         311 0                                                6.47
               :arc   urcnase           )9/:       'avoa 'Tisle93               >1.::0-,        CA C rd 3110                                              18
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 Total ATM & Debit Card Withdrawals                                                                                                                      $777,80




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                                                                      SB1217566-F1                                                                                           1374
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            CHASEO                                                                             September   25, 2018 through   October   22, 20t8
                                                                                                  Primary Account:                       1773




 IELECTRONIC WITHDRAWALSI
     DATE     DESCRIPTION                                                                                                                    AMOUNT
     09125    US    Bank NA




     Total Electronic   Withdrawals                                                                                                     $11,600,82



     DATE     DESCRIPTION                                                                                                                    AMOUNT



     Total Fees                                                                                                                              $25,00

 WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account Here are the two ways you can avoid
 this fee during any statement period,
       Have an average qualifying deposit and investment balance of at least $15,000,00 during your
       statement period,
       (Your average qualifying deposit and investment balance was S5, 147,00)

        Talk to a banker about transferring     your balances to Chase iodey!

        OR, authorize us to make automatic payments               to your qualifying      Chase mortgage     from your Chase account,
        (You do not have a qualifying Chase mortgage)

         Talk to a banker about a Chase mortgage!

 Stop in today and explore         all Chase has to offer,


IOVERDRAFT AND RETURNED ITEM FEE SUMMARyl
                                                                                                          Total for                        Total
                                                                                                       This Period                 Year-to-date
 Total Overdraft Fees *                                                                                       $,00                     S170,00
 Total Returned Item Fees                                                                                      $,00                            S,OO

 *   Total Overdraft Fees includes Insufficient Funds Fees, and Extended Overdrait Fees




                                                                                                                               Page 3 01 4




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         CHASEO                                                                                   September 25, 2018 through October 22, 2018
                                                                                                       Primary Account:                      1773




                                                                                                                              •••                  _5037



    SAVINGSSU
                                                                                              AMOUNT
  Beginning       Balance                                                                  $2,582,70
  Deposits and Additions                                                                     2,786,17
  Other Withdrawals
  Ending    Balance

  Annual Percentage          Yield Earned This Period                                          0,03%
  Interest Paid This Period                                                                    $0,05
  Interest Paid Year-to-Date                                                                    S2,17

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 TRANSACTION DETAIL
  DATE           DESCRIPTION                                                                                              AMOUNT                  BALANCE

                   Beginning     Balance                                                                                                     $2,582,70




                 Helping Restore       Payroll               PPDID:    9751562334
                 Interest Payment
                   Ending    Balance

 You earned a higher interest rate on your Chase Plus Savings account during this statement                      period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866,564-2262 or write us at the
 address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
 incorrect or if you need more information about a transfer listed on the statement or receipt
  For personal    accounts   only: We must hear from you no later than 60 days after we sent you the FIRST statement   on which the problem or error
 appeared, Be prepared to give us the following information:
            Your name and account number
        •   The dollar amount of the suspected error
 We will i~vest~~t~S~~~;i~g~~~i;te~~oJ~\,lr;~r~~"6t~~~ ~r;o~~;;r~~k W\jYJeO~~~'~6~~\~a~nl'6r[;'~Si~~~sh~r~~         (~~~~~~~rn~ni~ril!~~~~rnew
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation,
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
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 Account Rules and Regulations or other applicable account agreement thai governs your account ~eposit products and services are offered by
 JPMorgan Chase Bank, NA Member FDIC

                                                                                                         JPMorgan Chase Bank, NA Member FDIC




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                                                                    SB1217566-F1                                                                                   1376
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $3400.00

                               Posting Date: 17-Oct-18

                          Sequence Number: 001070632828

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1379
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $3400.00

                               Posting Date: 17-Oct-18

                          Sequence Number: 001070632829

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have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1380
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          CHASEO                                                                       October   23, 2018 through   November      23, 2018
          JPMorgan Chase Bank, NA
          POBox 182051
                                                                                          Primary Account:                          1773
          Columbus, OH 43218 -2051

                                                                                     CUSTOMER SERVICE INFORMATION
                                                                                     Web site:                                 Ohase.corn
                                                                                     Service Center:                   1-800-935-9935
      00001168 ORE 201 14232818 NNNNNNNNNNN T 1 000000000350000                      Deaf and Hard of Hearing:         1-800-242-7383
      MUHAMMAD N SIDDIQI                                                             Para Espanol                      1-877 -312-4273
      3020 BIGTOWN BLVD                                                              International Calls:              t-7t3-262-1679
      MESQUITE TX 75150-2412




 We're updating our Safe Deposit Box Lease Agreement
 The following    updates will go into effect on your annual renewal date in 2019:

             We added language to explain our duty to act in good faith and with reasonable care. We also clarified that any
             provision in the agreement is enforceable to the fullest extent permitted by law. (Limitation of Liability)
             We've updated the contact information (phone numbers and email addresses) for filing an arbitration claim.
             (Arbitration, How do I file an arbitration claim?)
             We may use your voice to verify your identity. (Telephone and Electronic Communication)
             We will notify you in advance of any changes to the Agreement that would adversely affect you, unless the change
             is necessary to comply with a legal requirement. (Changes to the Agreement, previously Change in Terms)

 If you would like a copy of the current agreement    or have any questions,   please call or stop by the branch where your box is
 located.


 -,-----------
  ASSETS
  Checking      & Savings                                        ACCOUNT                            BEGINNING BALANCE              ENDING BALANCE
                                                                                                            THIS PERIOD                THIS PERIOD
  Chase Premier Plus Checking                                                                                   S979.03                  $2,415.78
  Chase Plus Savings                                                                                            1,868.87                     506.13
  Total                                                                                                       $2,847,90                  $2,921,91



  TOTAL ASSETS                                                                                                $2,847,90                  $2,921,91




                                                                                                                       P~g.(;'!1 of 6




                                                          SB1217566-F1                                                                                       1381
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            CHASEO                                                                   October    23, 2018 through   November   23, 2018
                                                                                           Primary Account:                    1773




                                                                                                                   ••••            11773


                                                                                 AMOUNT
     Beginning     Balance                                                      $979.03
     Deposits and Additions                                                    12,772.10
  Checks Paid                                                                    -690.00
  ATM & Debit Card Withdrawals                                                 -1,024.95
     Electronic   Withdrawals                                                  -9,595.40
     Fees                                                                         -25.00
     Ending   Balance

  Annual Percentage          Yield Earned This Period                            0.01%
     Interest Paid This Period                                                    $0.02
     Interest Paid Year-to-Date                                                   SO.55


 DEPOSITS AND ADDITIONS
 DATE              DESCRIPTION                                                                                                     AMOUNT




 Total Deposits         and Additions                                                                                         $12,772.10


 CHECKS PAID

                            DESCRIPTION




 Total Checks        Paid

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
   one of your previous statements.
 A    An image of this check may be available for you to view on Chase. com.




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                                                         SB1217566-F1                                                                              1382
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         CHASEO                                  October   23, 2018 through   November   23, 2018
                                                     Primary Account:                     1773




 IATM & DEBIT CARD WITHDRAWALSI
  DATE    DESCRIPTION                                                                          AMOUNT




 Total ATM & Debit Card Withdrawals                                                       $1,024.95


 jELECTRONIC WITHDRAWALSj
  DATE    DESCRIPTION                                                                          AMOUNT




 Total Electronic   Withdrawals                                                           $9,595.40




  DATE    DESCRIPTION                                                                          AMOUNT



 Total Fees                                                                                    $25.00




                                                                                 Page 3 01 6




                                      SB1217566-F1                                                             1383
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        CHASEO                                                                               October   23, 2018 through   November     23, 2018
                                                                                                   PrimaryAccount                        1773




 WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
 this fee during any statement period.
       Have an average qualifying deposit and investment balance of at least $15,000.00 during your
       statement period.
       (Your average qualifying deposit and investment balance was S3,451.00)

     Talk to a banker about transferring     your balances to Chase today!

      OR, authorize us to make automatic payments              to your qualifying      Chase mortgage       from your Chase account.
      (You do not have a qualifying Chase mortgage)

      Talk to a banker about a Chase mortgage!

 Stop in today and explore       all Chase has to offer.


                 AFT AND RETURNED ITEM FEE SUMMARY
                                                                                                          Total for                         Total
                                                                                                       This Period                  Year-to-date
 Total Overdraft Fees'                                                                                        $.00                        S170.00
 Total Returned Item Fees                                                                                     $.00                              S.OO

 'Total Overdraft Fees includes Insufficient Funds Fees. and Extended Overdraft Fees




                                                                                                                          •••                 _.5037



    SAVINGSSU
                                                                                         AMOUNT
  Beginning Balance                                                                    $1,868.87
  Deposits and Additions                                                                2,t37.26
  Electronic Withdrawals
  Ending    Balance

  Annual Percentage Yield Earned This Period                                             0.03%
  Interest Paid This Period                                                               $0.03
  Interest Paid Year-to-Date                                                              S2.20

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.




                                                                                                                                Page 4 01 6




                                                               SB1217566-F1                                                                                   1384
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         CHASEO                                                                                      October    23, 2018 through       November     23, 2018
                                                                                                           Primary Account:                          1773



 TRANSACTION DETAIL
  DATE        DESCRIPTION                                                                                                        AMOUNT                  BALANCE

                Beginning     Balance                                                                                                                $1,868.87




 You earned a higher interest rate on your Chase Plus Savings account during this statement                            period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS                  ABOUT YOUR ELECTRONIC            FUNDS TRANSFERS:          Call us at 1-866·564-2262 or write us at the
 address on the front of this statement (non-personal      accounts contact Customer Service) immediately if you think your statement or receipt is
 incorrect or if you need more information about a transfer listed on the statement or receipt.
 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:
                 Your name and account number
                 The dollar amount of the suspected error
           •     A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
 We will investigate your complaint and will correct any error promptly.     If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.

 IN CASE OF ERRORS         OR QUESTIONS       ABOUT     NON·ELECTRONIC        TRANSACTIONS:         Contact the bank immediately          il your statement is
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                                                                                                                                                        t'lfr ,
 Account Rules and Regulations or other applicable account agreement that governs your account.             6eposit   products    and services are offered by
 JPMorgan Chase Bank, N.A. Member FDIC


                                                                                                              JPMorgan Chase Bank, NA Member FDIC




                                                                                                                                           Page 5 01 6




                                                                    SB1217566-F1                                                                                          1385
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g Sign    Here (If cash is received from this deposit)1
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                                                     SB1217566-F1                                 1391
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       CHASEO                                                                              November    24, 20181hrOUgh   December      21,2018
       JPMorgan Chase Bank, NA
       POBox 182051
                                                                                                 Primary Account:                       1773
       Columbus, OH 43218 -2051

                                                                                          CUSTOMER SERVICE INFORMATION
                                                                                          Web site:                                Chase.com
                                                                                          Service Center:                  1-800-935-9935
      00001175   ORE 201 14235618   NNNNNNNNNNN   T   1 000000000350000                   Deaf and Hard of Hearing:        1-800-242-7383
      MUHAMMAD N SIDDIQI                                                                  Para Espanol                     1-877 -312-4273
      3020 BIGTOWN BLVD                                                                   International Calls:             1-713-262-1679
      MESQUITE TX 75150-2412




 We updated our Deposit Account and Wire Transfer Agreements

 The following changes were made November              11, 2018


                   We published an updated version of our Deposit Account Agreement. You can get the latest agreement                            at
                 chase. com/disclosures, at a branch or by request when you call us. Here's what you should know:
                          We added a section to describe our new Autosave feature, which allows you to make automatic
                          transfers from your checking account to your savings account. (New section in General Account
                          Terms, Section B, Autosave feature)
                           We no longer charge an Extended Overdraft          Fee. (General Account Terms, Section C, Insufficient
                           Funds and Returned Item fees)

                           We added an address for reporting a dispute if you believe we provided incomplete or inaccurate
                           information about your account to a consumer reporting agency. (New section in General Account
                           Terms, Section I, Disputing information reported to a consumer reporting agency)


                  We updated our Wire Transfer Agreement,            here's what you should know:
                          You will still receive email notifications on the status of your wire transfer. However, we added that if
                          we're unable to send an email due to system tailures cr outaqes.ft's your responsibility to monitor your
                          account for the status of your wire transfer.
                          We clarified that you should expect your foreign exchange         rate to be less favorable    than rates quoted
                          online or in publications.


 Please call us at the number at the top of this statement          if you have any questions.

 We want to remind you about the overdraft service options that are available for your personal
 checking account(s)

 We've included information on the last page of this statement to remind you about our overdraft                services and associated
 fees. You can find more information about these services and ways to avoid overdraft fees at
 chase. comfoverdraft-servi   ces.


 If you have questions,     please call us anytime at the number on your statement.




                                                                                                                           P~g.(;'!1 of 6




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         CHASEO                                                                      November         24,2018   through   December    21,2018
                                                                                            Primary    Account:                       1773




_t-----------
 ASSETS
 Checking     & Savings                                       ACCOUNT

 Chase Premier Plus Checking
 Chase Plus Savings
 Total



 TOTAL      ASSETS                                                                                              $2,921,91                 $1,528.09




                                                                                                                          ••••            1·1773



  CHECKING SUMMARY
                                                                                 AMOUNT
  Beginning     Balance                                                       $2,415.78
  Deposits and Additions                                                      10,772.10
  Checks Paid                                                                      ·549.00
  ATM & Debit Card Withdrawals                                                     ·164.05
  Electronic Withdrawals                                                     ·11,966.09
  Fees                                                                              ·25.00
  Ending    Balance

  Annual Percenlage Yield Earned This Period                                       0.01%
  Interest Paid This Period                                                         $0.02
  Interest Paid Year-to-Date                                                        SO.57

 Your account ending in 5037 is linked to this account for overdraft protection.


 DEPOSITS AND ADDITIONS
  DATE          DESCRIPTION                                                                                                               AMOUNT




 Total Deposits    and Additions                                                                                                     $10,772.10




                                                                                                                             Page 2 016




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         CHASEO                                                                    November     24,2018   through   December    21,2018
                                                                                      Primary    Account:                       1773



 CHECKS PAID

 CHECK NO,                  DESCRIPTION
 908    1\

             1\

             1\


 Total Checks Paid

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
     one of your previous statements.
 A   An image of this check may be available for you to view on Chase.com.




  DATE            DESCRIPTION                                                                                                       AMOUNT




 Total ATM & Debit Card Withdrawals




  DATE            DESCRIPTION                                                                                                       AMOUNT




 Total Electronic         Withdrawals                                                                                          $11,966,09




  DATE            DESCRIPTION                                                                                                       AMOUNT
 t2121            Monthly Service Fee                                                                                               $2500
 Total Fees                                                                                                                         $25.00




                                                                                                                      Page 3 01 6




                                                        SB1217566-F1                                                                                1396
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        CHASEO                                                                                November 24,2018 through December 21,2018
                                                                                                    Primary Account                   1773


 WANT TO AVOID PAYING A MONTHLY                  SERVICE     FEE ON YOUR CHECKING              ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
 this fee during any statement period.
       Have an average qualifying   deposit and investment    balance of at least $15,000.00 during your
       statement period.
       (Your average qualifying deposit and investment balance was S3,960.00)

     Talk to a banker about transferring     your balances to Chase today!

      OR, authorize us to make automatic    payments           to your qualifying      Chase mortgage        from your Chase account.
      (You do not have a qualifying Chase mortgage)

      Talk to a banker about a Chase mortgage!

 Stop in today     and explore    all Chase has to offer.


IOVERDRAFT AND RETURNED ITEM FEE SUMMARyl
                                                                                                           Total for                      Total
                                                                                                        This Period              Year-to-date
 Total Overdraft   Fees'                                                                                       $.00                    S170.00
 Total Returned    Item Fees                                                                                   $.00                        S.OO

 'Total Overdraft Fees includes Insufficient Funds Fees. and Extended Overdraft Fees




                                                                                                                       ___                 15,'037




                                                                                            AMOUNT
  Beginning Balance                                                                     $506.13
  Deposits and Additions                                                                2,038.22
  Electronic   Withdrawals                                                             -1
  Ending    Balance

  Annual Percentage        Yield Earned This Period                                         0.03%
  Interest Paid This Period                                                                 $0.03
  Interest Paid Year-to-Date                                                                 S2.23

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.




                                                                                                                             Page 4 01 6




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         CHASEO                                                                                  November 24,2018      through December 21,2018
                                                                                                      Primary Account:                     1773



 TRANSACTION DETAIL
  DATE           DESCRIPTION                                                                                             AMOUNT                 BALANCE

                   Beginning     Balance                                                                                                        $506,13




 You earned a higher interest rate on your Chase Plus Savings account during this staternent                     period because you had a
 qualifying Chase Prernier Plus Checking account.




  IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
  address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
  incorrect or if you need more information about a transfer listed on the statement or receipt
  For personal    accounts   only: We must hear from you no later than 60 days after we sent you the FIRST statement   on which the problem or error
  appeared, Be prepared to give us the following information:
         •   Your name and account number
         •   The dollar amount of the suspected error
 We will i~vest~~t~S~~~;i~g~~~i;te~~oJ~\,lr~~r~~"6t  ~~~ ~r;o~~;;r~~k wWJ~~~~1~6~~\~a~nl '6r[;'~Si~~~sh~J;~         (~;~~ ~~~rn~n~~rcTa~~~~r new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation,
 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact thebank immediately if your statement is
 Incorrect Or it you need m.ore Information abo,ut any non-electronic transactions (checks or de-posits) on this statement. If any such
 you must notity the bank In wrillng no later than 30 days after the statement was made available to DOU, For more complete details,
 ~~~~r~~~~~~;~~~,;'~u~a~on~~~'I:~i'~~~Bllcable account agreement that governs your account epasit products and services are


                                                                                                         JPMorgan Chase Bank, N.A, Member FDIC




                                                                                                                                  Page 5 01 6




                                                                    SB1217566-F1                                                                                 1398
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $4000.00

                               Posting Date: 17-Dec-18

                          Sequence Number: 001680666098

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1401
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $4000.00

                               Posting Date: 17-Dec-18

                          Sequence Number: 001680666099

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




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          CHASEO                                                                    December   22. 2018 through January     23.2019
          JPMorgan Chase Bank, NA
          POBox    182051
                                                                                       Primary Account:                       1773
          Columbus, OH 43218 -2051

                                                                                  CUSTOMER SERVICE INFORMATION
                                                                                 Web site:                                Chase.com
                                                                                 Service Center:                  1-800-935-9935
      00001187DRE20114202419NNNNNNNNNNNT          1000000000350000               Deaf and Hard of Hearing:        1-800-242-7383
      MUHAMMAD N SIDDIQI                                                         Para Espanol                     1-877 -312-4273
      3020 BIGTOWN BLVD                                                          International Calls:             t-7t3-262-1679
      MESQUITE TX 75150-2412




 We are clarifying     the fee for incoming   wires


 On March 17, 2019. we're updating the document explaining our Additional Banking Services and Fees to clarify that the fee
 for an incoming wire is $0 if it is sent from another Chase account with the help of a Chase banker or through chase. com or
 the Chase Mobile~ app.


 As a reminder,    our standard fee to receive a wire is S15. however. some of our products do not charge this fee.




 -----------
 Please call the number on this statement     if you have any questions.




  ASSETS
  Checking      & Savings                                            ACCOUNT                    BEGINNING BALANCE            ENDING BALANCE
                                                                                                       THIS PERIOD               THIS PERIOD

  Chase Premier Plus Checking                                                                               S483.74                   $592.95
  Chase Plus Savings                                                                                       1.044.35                     32.60
  Total                                                                                                   $1,528.09                   $625.55


  TOTAL       ASSETS                                                                                      $1,528.09                   $625.55




                                                                                                                 P~g.(;'!1 of 6




                                                            SB1217566-F1                                                                               1405
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             CHASEO                                                                         December    22,2018     through January   23,2019
                                                                                                 Primary Account:                      1773




                                                                                                                          ____                  1773




     I CHECKING               SUMMARY I
                                                                                         AMOUNT
      Beginning     Balance                                                              $483.74
      Deposits and Additions                                                        30,988.92
      Checks Paid                                                                        -525.00
      ATM & Debit Card Withdrawals                                                       -527.93
      Electronic   Withdrawals                                                      -22,271.78
      Other Withdrawals                                                              -7,500.00
      Fees                                                                                -55.00
      Ending   Balance

      Annual Percentage       Yield Earned This Period                                   0.01%
      Interest Paid This Period                                                           $003
      Interest Paid Year-to-Date                                                          SO.03

     Your account ending in 5037 is linked to this account for overdraft   protection.

     Interest paid in 2018 for account •••••             1773 was $057.


 I   DEPOSITS AND ADDITIONS                              1                                                                                       _

     DATE           DESCRIPTION                                                                                                             AMOUNT
     12127          Eagle Protective     Direct Dep          PPD 10 9111111101                                                         $2,636.04
     01104          Fedwire Credit Via: Wells Fargo Bank/121 000248 B/O: Inc AZ & Hiba Entertainment              US                       9,500.00
                    Ref Chase NyclCtrfBnf=Muhammad       N Siddiqi Mesquite, TX 751501Ac-00000001596               9
                    Rfb=Ow00000362472516      Obi=For Soun D Payment For Daisy Shah Concert Imad:
                    010411 B7032R004317 Trn 1400009004Ff
     01/07          Fedwire Credit Via Wells Fargo Bank/121 000248 B/O Inc AZ & Hiba Entertainment                US                       8,000.00
                    Ref Chase Nyc/Ctr/Bnf=Muhammad      N Siddiqi Mesquite, TX 75150/Ac-00000001596                9
                    Rfb=Ow00000363206692     Obi=For Banq Uet Hailimad: 010711 B7033R001910 Trn:




     Total Deposits      and Additions




                                                                                                                              Page 2 016




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          CHASEO                                                                    December   22,2018   through January   23,2019
                                                                                      Primary Account:                      1773




 CHECKS PAID

 CHECK NO,                  DESCRIPTION
 909     1\

              1\


 Total Checks Paid

 If YDU see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
      one of your previous statements.
 1\   An image of this check may be available for you to view on Chase.com.



 IATM & DEBIT CARD WITHDRAWALSI
  DATE             DESCRIPTION                                                                                                   AMOUNT




 Total ATM & Debit Card Withdrawals




  DATE             DESCRIPTION                                                                                                   AMOUNT




 Total Electronic          Withdrawals                                                                                     $22,271,78




                                                                                                                   Page 3 01 6




                                                         SB1217566-F1                                                                            1407
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         CHASEO                                                                          December     22,2018    thrOUgh January   23,2019
                                                                                               Primary Account                      1773




           ER WITHDRAWALS
  DATE     DESCRIPTION                                                                                                                   AMOUNT
 01104     01104 Withdrawal                                                                                                         S7,500.00
 Total Other Withdrawals                                                                                                            $7,500.00




  DATE     DESCRIPTION                                                                                                                   AMOUNT




 Total Fees                                                                                                                              $55.00


 WANT TO AVOID PAYING A MONTHLY                 SERVICE     FEE ON YOUR CHECKING          ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
 this fee during any statement period.
 •     Have an average qualifying   deposit and investment    balance of at least $15,000.00 during your
       statement period.
       (Your average qualifying deposit and investment balance was S5,035.00)

     Talk to a banker about transferring     your balances to Chase toaey!

     OR, authorize us to make automatic    payments           10 your qualifying   Chase mortgage        from your Chase account.
     (You do not have a qualifying Chase mortgage)

      Talk to a banker about a Chase mortgage!

 Stop in today    and explore     all Chase has to offer.




                                                                                                                       __            .,'037




    SAVINGSSU
                                                                                     AMOUNT
  Beginning      Balance                                                           $1,044.35
  Deposits and Additions                                                            1,788.25
  Electronic   Withdrawals
  Ending   Balance

  Annual Percentage        Yield Earned This Period                                   0.03%
  Interest Paid This Period                                                           $0.04
  Interest Paid Year-to-Date                                                           SO.04

 Interest paid in 2018 for account 000001835055037          was $2.23.

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


                                                                                                                           Page 4 01 6




                                                             SB1217566-F1                                                                                1408
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         CHASEO                                                                                      December         22,2018 through January 23,2019
                                                                                                           Primary Account:                          1773



 TRANSACTION DETAIL
  DATE        DESCRIPTION                                                                                                         AMOUNT                  BALANCE

                Beginning     Balance                                                                                                                $1,044.35




 You earned a higher interest rate on your Chase Plus Savings account during this statement                             period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS                  ABOUT YOUR ELECTRONIC            FUNDS TRANSFERS:          Call us at 1-866·564-2262 or write us at the
 address on the front of this statement (non-personal      accounts contact Customer Service) immediately if you think your statement or receipt is
 incorrect or il you need more information about a transfer listed on the statement or receipt.
 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:
                 Your name and account number
                 The dollar amount of the suspected error
           •     A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
 We will investigate your complaint and will correct any error promptly.     If we take more than 10 business days (or 20 business days for new
 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
 us to complete our investigation.

 IN CASE OF ERRORS         OR QUESTIONS       ABOUT     NON·ELECTRONIC        TRANSACTIONS:         Contact the bank immediately           il your statement is
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 Account Rules and Regulations or other applicable account agreement that governs you, account.             6eposit    products    and services are offered by
 JPMorgan Chase Bank, N.A. Member FDIC


                                                                                                              JPMorgan Chase Bank, N,A, Member FDIC




                                                                                                                                            Page 5 01 6




                                                                    SB1217566-F1                                                                                           1409
    Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                Desc
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                                                                                                                                      CHECKING     ~
           CHASE                          0                                               DEPOSIT                                      SAVINGS
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                                                                                         SB1217566-F1                                                              1413
   Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06      Desc
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12-Apr-21

12Apr21-2530

This is a substitute document representing a CASH IN TICKET

Posting Date 17-Jan-19

Sequence number 005570578025

Amount 4500.00

Account Number 1773

Date Request Received 12-Apr-21




                                   SB1217566-F1                                 1414
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                  Desc
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          CHASEO                                                                               January   24, 2019 through   February       22, 2019
         JPMorgan Chase Bank, NA
         POBox    182051
                                                                                                   Primary Account:                             1773
         Columbus, OH 43218 -2051

                                                                                            CUSTOMER SERVICE INFORMATION
                                                                                            Web site:                                  Chase.com
                                                                                            Service Center:                    1-800-935-9935
      00001127DRE20114205419NNNNNNNNNNNT             1000000000350000                       Deaf and Hard of Hearing:          1-800-242-7383
      MUHAMMAD N SIDDIQI                                                                    Para Espanol                       1-877 -312-4273
      3020 BIGTOWN BLVD                                                                     International Calls:                1-713-262-1679
      MESQUITE TX 75150-2412




 -----------
  ASSETS
  Checking & Savings                                                    ACCOUNT                             BEGINNING BALANCE                   ENDING BALANCE
                                                                                                                   THIS PERIOD                      THIS PERIOD
  Chase Premier Plus Checking                                                                                           S592.95                      $4,412.56
  Chase Plus Savings                                                                                                        32.60                         32.60
  Total                                                                                                                 $625.55                       $4,445.16



  TOTAL ASSETS                                                                                                          $625.55                       $4,445.16




                                                                                                                            •••••                      1773




  CHECKING SUMMARY
                                                                                           AMOLJNT
  Beginning     Balance                                                                    $592.95
  Deposits and Additions                                                               18,927.16
  Checks Paid                                                                              -525.00
  ATM & Debit Card Withdrawals                                                             -197.58
  Electronic   Withdrawals                                                            -14,359.97
  Fees                                                                                      -25.00
  Ending Balance

  Annual Percentage       Yield Earned This Period                                         0.01%
  Interest Paid This Period                                                                 $003
  Interest Paid Year-to-Date

 Your account ending in 5037 is linked to this account for overdraft         protection.

 Interest paid in 2018 for account I •••••             1773 was SO.57.




                                                                                                                               P~g.(;'!1   of   4




                                                               SB1217566-F1                                                                                              1416
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         CHASEO                                                                     January   24, 2019 through   February   22, 2019
                                                                                      Primary Account:                        1773




 DEPOSITS AND ADDITIONS




 Total Deposits     and Additions                                                                                           $18,927,16




                                                                                                        DATE
 CHECK NO.               DESCRIPTION                                                                    PAID                      AMOUNT

         "
 Total Checks     Paid

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image .
 • All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
   one of your previous statements.
 "An     image of this check may be available for you to view on Chase.com.



 IATM & DEBIT CARD WITHDRAWALSI
  DATE       DESCRIPTION                                                                                                          AMOUNT




 Total ATM & Debit Card Withdrawals                                                                                               $197.58

 IELECTRONIC WITHDRAWALSI
  DATE       DESCRIPTION                                                                                                          AMOUNT




                                                                                                                     Page 2 014




                                                         SB1217566-F1                                                                              1417
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         CHASEO                                                                          January 24, 2019 th~,                2019
                                                                                           PrimaryAccount:__                 1773




 IELECTRONIC                  WITHDRAWALSI_(c_o_nt_inu_e_d)                                                                           _

  DATE     DESCRIPTION                                                                                                            AMOUNT




 Total Electronic        Withdrawals                                                                                       $14,359,97




  DATE     DESCRIPTION                                                                                                            AMOUNT
 02122     Month    Iy   Service Fee                                                                                              $2500
 Total Fees                                                                                                                       $25.00


 WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
 this fee during any statement period.
 •     Have an average qualifying deposit and investment balance of at least $15,000.00 during your
       statement period,
       (Your average qualifying deposit and investment balance was S3,720.00)

    Talk to a banker about transferring      your balances to Chase today!

     OR, authorize us to make automatic payments              to your qualifying   Chase mortgage    from your Chase account.
     (You do not have a qualifying Chase mortgage)

     Talk to a banker about a Chase mortgage!

 Stop in today and explore        all Chase has to offer.




                                                                                                                 11111••          15037

    SAVINGSSU
                                                                                     AMOUNT
  Beginning   Balance                                                                $32,60
  Ending   Balance

  Annual Percentage Yield Earned This Period                                         0.00%
  Interest Paid Year-to-Date                                                          SO.Q4

 Interest paid in 2018 for accoun_5037                      was $2.23.

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 You earned a higher interest rate on your Chase Plus Savings account during this statement period because you had a
 qualifying Chase Premier Plus Checking account.


                                                                                                                    Page 3 01 4




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                                                                                              SB1217566-F1                                                            1420
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      MUHAMMAD SIDDIQI                                                                          ~
      3020 BIG TOWN BLVD.                          •••••••~L.IL'~t,                             ~
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $3000.00

                               Posting Date: 14-Feb-19

                          Sequence Number: 006670872221

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1423
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $3000.00

                               Posting Date: 14-Feb-19

                          Sequence Number: 006670872222

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1424
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                                                                                                                                    CHECKING       0
          CHASE                             0                                           DEPOSIT                                      SAVINGS
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                                                                                        1773                        TOTAL    $     ~.




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                                                                                    SB1217566-F1                                                               1427
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12-Apr-21

12Apr21-2530

This is a substitute document representing a CASH IN TICKET

Posting Date 19-Feb-19

Sequence number 009670652514

Amount 5000.00

Account Number 1773

Date Request Received 12-Apr-21




                                   SB1217566-F1                                 1428
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                        Desc
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          CHASEO                                                                                February   23, 2019 through    March 21,             2019
         JPMorgan Chase Bank, NA
         POBox 182051
                                                                                                   Primary Account:                              1773
         Columbus, OH 43218 -2051

                                                                                            CUSTOMER SERVICE INFORMATION
                                                                                           Web site:                                    Chase.com
                                                                                           Service Center:                       1-800-935-9935
      00001119DRE20114208119NNNNNNNNNNNT             1000000000350000                      Deaf and Hard of Hearing:             1-800-242-7383
      MUHAMMAD N SIDDIQI                                                                   Para Espanol                          1-877 -312-4273
      3020 BIGTOWN BLVD                                                                    International Calls:                  1-713-262-1679
      MESQUITE TX 75150-2412




 -----------
  ASSETS
  Checking & Savings                                                    ACCOUNT                             BEGINNING BALANCE                    ENDING BALANCE
                                                                                                                   THIS PERIOD                       THIS PERIOD
  Chase Premier Plus Checking                                                                                         S4,412.56                             $3,096.98
  Chase Plus Savings                                                                                                          32.60                             32.60
  Total                                                                                                               $4,445.16                             $3,129.58



  TOTAL ASSETS                                                                                                        $4,445.16                             $3,129.58




                                                                                                                                                            1773




  CHECKING SUMMARY
                                                                                           AMOLJNT
  Beginning     Balance                                                               $4,412.56
  Deposits and Additions                                                               10,782.79
  Checks Paid                                                                              -525.00
  ATM & Debit Card Withdrawals                                                              -52.49
  Electronic   Withdrawals                                                            -11,495.88
  Fees                                                                                      -25.00
  Ending Balance

  Annual Percentage       Yield Earned This Period                                         0.01%
  Inlerest   Paid This Period                                                               $003
  Inlerest   Paid Year-to-Dale

 Your account ending in 5037 is linked to this account for overdraft         protection.

 Interest paid in 2018 for account                      773 was SO.57.




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                                                               SB1217566-F1                                                                                                    1430
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          CHASEO                                                                     February 23. 2019 through   March 21. 2019
                                                                                      Primary Account:                   '1773




 DEPOSITS AND ADDITIONS




 Total Deposits      and Additions                                                                                      $10,782.79


 CHECKS PAID
                                                                                                       DATE
 CHECK NO.              DESCRIPTION                                                                    PAID                    AMOUNT
         1\




 Total Checks Paid                                                                                                             $525.00

 If you see a description in the Checks Paid section. it means that we received only electronic information about the check,
 not the original or an image of the check. As a result. we're not able to return the check to you or show you an image .
 • All of your recent checks may not be on this statement.   either because they haven't cleared yet or they were listed on
   one of your previous statements.
 1\   An image of this check may be available for you 10 view on Chase.com.



 IATM & DEBIT CARD WITHDRAWALSI
  DATE        DESCRIPTION                                                                                                      AMOUNT




                                                                                                                                  14.30
                                                                                                                                $52.49


 IELECTRONIC WITHDRAWALSI
  DATE        DESCRIPTION                                                                                                      AMOUNT




                                                                                                                  Page 2 014




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         CHASEO                                                                          February 23. 2019 through March 21. 2019
                                                                                            Primary Account:                 1773




 IELECTRONIC                 WITHDRAWALSI_(c_o_nt_inu_e_d)                                                                            _

  DATE     DESCRIPTION                                                                                                            AMOUNT




 Total Electronic     Withdrawals                                                                                          $11,495.88




  DATE     DESCRIPTION                                                                                                            AMOUNT


                                                                                                                                  $25.00


 WANT TO AVOID PAYING A MONTHLY                 SERVICE     FEE ON YOUR CHECKING        ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
 this fee during any statement period.
 •     Have an average qualifying   deposit and investment    balance of at least $15,000.00 during your
       statement period.
       (Your average qualifying deposit and investment balance was S3.930.00)

     Talk to a banker about transferring your balances to Chase today!

     OR, authorize us to make automatic    payments          to your qualifying   Chase mortgage      from your Chase account.
     (You do not have a qualifying Chase mortgage)

     Talk to a banker abaut a Chase mortgage!

 Stop in today    and explore     all Chase has to offer.




                                                                                                                                    5037



    SAVINGSSU
                                                                                    AMOUNT
  Beginning      Balance                                                            $32.60
  Ending   Balance

  Annual Percentage        Yield Earned This Period                                 0.00%
  Interest Paid Year-to-Date                                                         SO.04

 Interest paid in 2018 for account                    5037 was $2.23.
 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 You earned a higher interest rate on your Chase Plus Savings account during this statement           period because you had a
 qualifying Chase Premier Plus Checking account.



                                                                                                                    Page 3 01 4




                                                             SB1217566-F1                                                                         1432
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $3000.00

                               Posting Date: 18-Mar-19

                          Sequence Number: 007080920370

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1435
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $3000.00

                               Posting Date: 18-Mar-19

                          Sequence Number: 007080920371

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1436
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $2500.00

                               Posting Date: 18-Mar-19

                          Sequence Number: 009070500580

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1437
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $2500.00

                               Posting Date: 18-Mar-19

                          Sequence Number: 009070500581

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1438
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                             Desc
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          CHASEO                                                                                March 22, 2019 through    April 19, 2019
          JPMorgan Chase Bank, NA
          POBox 182051
                                                                                                Primary Account:                            1773
          Columbus, OH 43218 -2051

                                                                                           CUSTOMER SERVICE INFORMATION
                                                                                          Web site:                                Ohase.corn
                                                                                          Service Center:                   1-800-935-9935
      00001121    ORE 201 14211019   NNNNNNNNNNN   T   1 000000000350000                  Deaf and Hard of Hearing:         1-800-242-7383
      MUHAMMAD N SIDDIQI                                                                  Para Espanol                      1-877 -312-4273
      3020 BIGTOWN BLVD                                                                   International Calls:              1-713-262-1679
      MESQUITE TX 75150-2412




 We updated our disclosures

 On March 17, 2019, we published an updated version of our Deposit Account Agreement and the document explaining our
 Additional Banking Services and Fees. You can get the latest agreements at chase. com/disclosures, at a branch or by
 request when you call us. Here's what you should know:

             We're using a payment network that supports real-time payments. When you send or receive a real-time payment,
             you confirm that you're not acting on the behalf of someone who is not a US citizen or resident (General Account
             Terms, Section I, Rules governing your account)

             We've reduced the Chase wire fee to send an international           wire in a foreign currency to S5 per transfer when you
            use chase.com or the Chase Mobile® app, As a reminder, there is no Chase wire fee when your transfer is equal to
            $5,000 U.S. dollars or more. Also, there is never a Chase wire fee to send a wire from a Chase Premier Plus
            CheckingSM     with enhanced    military benefits, Chase SapphiresM       Checking, or Chase Private Client CheckingSM
            account.

 Please call us at the number on this statement          if you have any questions.



 -----------
  ASSETS
  Checking       & Savings                                                 ACCOUNT                       BEGINNING BALANCE                  ENDING BALANCE
                                                                                                                THIS PERIOD                     THIS PERIOD

  Chase Premier Plus Checking
  Chase Plus Savings                                                                                                     32.60                       32.60
  Tolal                                                                                                            $3,129.58                     $1,700.12



  TOTAL       ASSETS                                                                                               $3,129.58                     $1,700.12




                                                                                                                           P~g.(;'!1   of   4




                                                                  SB1217566-F1                                                                                      1440
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         CHASEO                                                                               March 22, 2019 through April 19, 2019
                                                                                             Primary   Account:                     773




                                                                                                                                          1773




                                                                                     AMOUNT
  Beginning     Balance                                                         $3,096.98
  Deposits and Additions                                                         12,207.78
  Checks Paid                                                                    -4,681.17
  ATM & Debit Card Withdrawals                                                         -703
  Electronic   Withdrawals                                                       -8,890.04
  Fees                                                                               -59.00
  Ending     Balance

  Annual Percentage        Yield Earned This Period                                  0.01%
  Interest Paid This Period                                                           $0.02
  Interest Paid Year-to-Date                                                          SO.11

 Your account ending in 5037 is linked to this account for overdraft   protection.


 DEPOSITS AND ADDITIONS
  DATE          DESCRIPTION                                                                                                         AMOUNT




 Total Deposits        and Additions                                                                                         $12,207.78


 CHECKS PAID
                                                                                                              DATE
 CHECK NO.                DESCRIPTION                                                                         PAID                  AMOUNT




 Total Checks     Paid                                                                                                         $4,681.17
 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 , All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
   one of your previous statements.
 A   An image of this check may be available for you to view on Chase. com.




                                                                                                                       Page 2 014




                                                         SB1217566-F1                                                                                   1441
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                            Desc
       Exhibit Z Declaration of JPMorgan Chase Bank Page 133 of 190




         CHASEO                                                                            March 22, 2019 through April 19, 2019
                                                                                          Primary   Account:                 1773




 IATM & DEBIT CARD WITHDRAWALSI
  DATE     DESCRIPTION                                                                                                            AMOUNT
 03122     Card Purchase             03120 Chick-Fil-A   iI 00878 Addison TX Card 3110                                              S7.03

 Total ATM & Debit Card Withdrawals                                                                                                 $7.03


 IELECTRONIC WITHDRAWALSI
  DATE    DESCRIPTION                                                                                                             AMOUNT




 04119    Affiliated   Bank   1 Time Dft 0073249344        Web 10: 9Dft4                                                      3,800.43
 Total Electronic      Withdrawals                                                                                           $8,890.04




                                                                                                                                  AMOUNT
                                                   .17 Item - Details: Check # 1769      American    Express Arc                   $34.00



 Total Fees                                                                                                                        $59.00


 WANT TO AVOID PAYING A MONTHLY                SERVICE     FEE ON YOUR CHECKING          ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
 this fee during any statement period.
 •     Have an average qualifying   deposit and investment    balance of at least $15,000.00 during your
       statement period,
       (Your average qualifying deposit and investment balance was S2,486.00)

     Talk to a banker about transferring    your balances to Chase today!

     OR, authorize us to make automatic    payments          to your qualifying   Chase mortgage      from your Chase account,
     (You do not have a qualifying Chase mortgage)

     Talk to a banker about a Chase mortgage!

 Stop in today   and explore     all Chase has to offer.




                                                                                                                    Page 3 01 4




                                                            SB1217566-F1                                                                           1442
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                    Desc
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         CHASEO                                                                                             March   22, 2019 through April 19, 2019
                                                                                                            Primary Account:                        1773




       •.. ,.., .AFT AND RETURNED ITEM FEE SUMMARYI
                                                                                                                    Total for                           Total
                                                                                                                 This Period                   Year-to-date
 Total Overdraft       Fees'                                                                                          $3400                              $34.00
 Total Returned        Item Fees                                                                                          $.00                             S.OO

 * Total Overdraft    Fees includes   Insufficient   Funds Fees, and Extended   Overdrait   Fees




                                                                                                                                                           5037




                                                                                                   AMOUNT
  Beginning          Balance                                                                       $32.60
  Ending     Balance

  Annual Percentage            Yield Earned This Period                                            0.00%
  Interest Paid Year-to-Date                                                                        SO.04

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 You earned a higher interest rate on your Chase Plus Savings account during this staternent                           period because you had a
 qualifying Chase Prernier Plus Checking account.




  IN CASE OF ERRORS OR QUESTIONS                  ABOUT YOUR ELECTRONIC           FUNDS TRANSFERS:            Call us at 1-866·564-2262 Or write us at the
  address on the front of this statement (non· personal accounts contact Customer Service) immediately if you think your statement or receipt is
  incorrect or if you need more information about a transfer listed on the statement or receipt.
  For personal accounts only: We must hear from you no later than 60 days after we sent you tile FIRST statement on whicl1 tile problem or error
  appeared. Be prepared to give us the following information:
                  Your name and account number
                  The dollar amount of the suspected error
                  A description of the error or transfer you are unsure ot, why you believe it is an error,.or why you need more information.
  We wi!! investigate your complaint and will correct any error promptly.    H v:;e take more- than 10 business days (or 20 business. days for new
  accounts) to do this, we will credit your account for the amount you think IS in error so that you will have- use of the money durinq the time- it takes
  us to complete our investigation

  IN CASE OF ERRORS OR QUESTIONS                ABOUT NON-ELECTRONIC           TRANSACTIONS:       Contact the bank immediately if your statement is
  incorrect or if au need more information about any non-electronc      transactions (checks or deposits) on this statement  If any such error appears,
  you must             bank in writing no later than 30 days after the statement was made available to       DOu,
                                                                                                               For more complete details, see the
  1~fA~~~              ~,i'~u~~R~n~~~~~(~6f8Iicable     account agreement that governs your account       oposit products and services are offered by



                                                                                                               JPMorgan    Chase   Bank,    N,A, Member      FDIC




                                                                                                                                           Page 4 01 4




                                                                        SB1217566-F1                                                                                       1443
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $3000.00

                               Posting Date: 25-Mar-19

                          Sequence Number: 003680185810

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1444
   Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06          Desc
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $3000.00

                               Posting Date: 25-Mar-19

                          Sequence Number: 003680185811

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1445
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                     Desc
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          CHASEO                                                                            April 20, 2019 through May 21, 2019
          JPMorgan Chase Bank, NA
          POBox    182051
                                                                                           Primary Account:                       1773
          Columbus, OH 43218 -2051

                                                                                      CUSTOMER SERVICE INFORMATION
                                                                                      Web site:                              Chase.com
                                                                                      Service Center:                 1-800-935-9935
      00001119DRE20114214219NNNNNNNNNNNT          1000000000350000                    Deaf and Hard of Hearing:       1-800-242-7383
      MUHAMMAD N SIDDIQI                                                              Para Espanol                    1-877 -312-4273
      3020 BIGTOWN BLVD                                                               International Calls:            1-713-262-1679
      MESQUITE TX 75150-2412




 We want to remind you about the overdraft service options that are available for your personal
 checking account(s)

 We've included information on the last page of this statement to remind you about our overdraft         services and associated
 fees. You can find more information about these services and ways to avoid overdraft fees at
 chase.comfoverdraft-services.

 If you have questions.     please call us anytime at the number on your statement.




 _:-----------
  ASSETS
  Checking      & Savings                                            ACCOUNT                       BEGINNING BALANCE             ENDING BALANCE
                                                                                                          THIS PERIOD                THIS PERIOD
  Chase Premier Plus Checking                                                                                 SI,667.52                  $2,680.47
  Chase Plus Savings                                                                                              32.60                      32.60
  Total                                                                                                       $1,700.12                  $2,713.07



  TOTAL ASSETS                                                                                                $1,700.12                  $2,713.07




                                                                                                                     P~g.(;'!1 of 6




                                                            SB1217566-F1                                                                                    1449
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         CHASEO                                                                               April 20, 2019 through   May 21,2019
                                                                                             Primary Account:                     1773




                                                                                                                       ••••            1.1773


                                                                                     AMOUNT
  Beginning     Balance                                                         $1,667.52
  Deposits and Additions                                                        21,517.03
  Checks Paid                                                                    -4,673.15
  ATM & Debit Card Withdrawals                                                   -1,290.16
  Electronic   Withdrawals                                                       -9,715.77
  Other Withdrawals                                                              -4,800.00
  Fees                                                                               -25.00
  Ending Balance

  Annual Percentage       Yield Earned This Period                                   0.01%
  Interest Paid This Period                                                          $002
  Interest Paid Year-to-Date                                                          SO.13

 Your account ending in 5037 is linked to this account for overdraft   protection.


 DEPOSITS AND ADDITIONS
                                                                                                                                       AMOUNT




 Total Deposits and Additions




                                                                                                                          Page 2 016




                                                         SB1217566-F1                                                                                  1450
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         CHASEO                                                                         April 20, 2019 through   May 21,2019
                                                                                      Primary Account:                       1773




 CHECKS PAID

 CHECK NO.                DESCRIPTION
 913   1\

            1\


            "
 1754 '"
         '"                                                                                              (
                                                                                                         (                        1,1
          "                                                                                                                    2,4
   71 f\                                                                                                 (

   7( '"                                                                                                 (

 Total Checks Paid                                                                                                           $4,673.15
 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
   one of your previous statements.
 /\ An image of this check may be available for you to view on Chase.com.



 IATM & DEBIT CARD WITHDRAWALSI
  DATE           DESCRIPTION                                                                                                       AMOUNT




 Total ATM & Debit Card Withdrawals                                                                                          $1,290.16

 IELECTRONIC WITHDRAWALSI
  DATE           DESCRIPTION                                                                                                      AMOUNT




                                                                                                                    Page 3 01 6




                                                        SB1217566-F1                                                                               1451
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         CHASEO                                                                                            April 20, 2019 through   May 21,2019
                                                                                                         Primary Account:                       1773




 IELECTRONIC                   WITHDRAWALSI_(c_o_nt_inu_e_d)                                                                                                _

  DATE       DESCRIPTION                                                                                                                             AMOUNT




 Total Electronic        Withdrawals                                                                                                            $9,715.77




  DATE       DESCRIPTION                                                                                                                              AMOUNT
 04123       04123 Withdrawal                                                                                                                        S300.00
 05120       05120 Withdrawal                                                                                                                        4,500.00
 Total Other Withdrawals                                                                                                                        $4,800.00




  DATE       DESCRIPTION                                                                                                                              AMOUNT



 Total Fees                                                                                                                                           $25.00


 WANT TO AVOID PAYING A MONTHLY SERVICE FEE ON YOUR CHECKING ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
 this fee during any statement period.
 •     Have an average qualifying deposit and investment balance of at least $15,000.00 during your
       statement period.
       (Your average qualifying deposit and investment balance was S2,337.00)

      Talk to a banker about transferring             your balances to Chase todey!

      OR, authorize us to make automatic payments                      to your qualifying         Chase mortgage    from your Chase account.
      (You do not have a qualifying Chase mortgage)

       Talk to   a   banker about     a   Chase mortgage!

 Stop in today and explore            all Chase has to offer.


                     AFT AND RETURNED ITEM FEE SUMMARY
                                                                                                                 Total for                          Total
                                                                                                              This Period                  Year-to-date
 Total Overdraft      Fees'                                                                                          $.00                            $34.00
 Total Returned       Item Fees                                                                                                                         S.OO

 • Total Overdraft   Fees includes   Insufficient   Funds Fees, and Extended   Overdraft   Fees




                                                                                                                                       Page 4 01 6




                                                                       SB1217566-F1                                                                                    1452
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                 Desc
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       CHASEO                                                                                             April 20, 2019 through   May 21,2019
                                                                                                         Primary Account:                         1773




                                                                                                                                                         5037



    SAVINGSSU
                                                                                               AMOUNT
  Beginning     Balance                                                                         $32.60
  Ending    Balance

  Annual Percentage       Yield Earned This Period                                              0.00%
  Interest Paid Year-to-Date                                                                     SO.04

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 You earned a higher interest rate on your Chase Plus Savings account during this statement                         period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS                  ABOUT YOUR ELECTRONIC           FUNDS TRANSFERS:           Call us at 1·866·564·2262 or write us at the
 address on the front of this statement (non-personal      accounts contact Customer Service) immediately if you think your statement or receipt is
 incorrect or it you need more Information about a transfer listed on the statement or receipt
 For personal accounts only: We must hear Irom you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:
                 Your name and account number
                 The dollar amount of the suspected error
           •     A description 01 the error or transfer you are unsure ot, why you believe it IS an error, or why you need more Information.
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 us to complete our investigation.
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 IN CASE OF ERRORS OR QUESTIONS               ABOUT NON·ELECTRONIC           TRANSACTIONS:      Contact the bank Immediately ii your statement IS
 incorrect or ii you need more informar,on about any non-electronic transactions (checks or deposits) on this statement.  Ii any such error appears,
 you must notify the bank in writing no later than 30 days after the statement was made available to [Sou. For more complete details, see the
 ~~;;i'~r~~~t~~:~~~~~,u~~~on~~~t~~F6f8Iicable         account agreement that governs your account.     eposit products and services are oHered by



                                                                                                            JPMorgan Chase Bank, N.A. Member FDIC




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                                                                   SB1217566-F1                                                                                         1453
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12-Apr-21

Reference Case Number: G12Apr21-2530

This is a substitute document representing an Electronic Ticket

Posting Date 23-Apr-19
Sequence Number 009270885943
Amount 1428.00
Account Number: 1773
Date Request Received 12-Apr-21




                                    SB1217566-F1                                1459
     Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                                                                Desc
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                                         l'AYAnLE BYTilE COUI'iTV TnEASUlt£1t                                        01'11 III COUNTY OF DALLAS. STATE OF TEXAS

                                                                                                                                                                                Check No.              467273604
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                                         CHARGE TO FUND: NO. 467 HUO SECTION                                 a                                  84S-":;'OFMtUJC ..••


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     THE ORDER                   PO BOX 814392                                                                                                            ~ON'NU;On-'1lL"     1'o.'1\) VOID IF NOT rRES~Ntro  FOR
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                                                                                                     SB1217566-F1                                                                                                                    1460
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                                                                                                                                                             1775




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        JPMORGAN CHASE BANK, N.A.
        o.t.U.AS. TEXAS 75201

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                                                                  SB1217566-F1                                                                                                     1462
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $2500.00

                              Posting Date: 20-May-19

                          Sequence Number: 009490347129

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1471
   Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06          Desc
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $2500.00

                              Posting Date: 20-May-19

                          Sequence Number: 009490347130

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1472
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $600.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390859529

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1474
   Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06          Desc
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $600.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390859530

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1475
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $580.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390859787

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1476
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $580.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390859788

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1477
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $600.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390859817

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1478
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $600.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390859818

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1479
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $380.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390871525

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1480
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $380.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390871526

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1481
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $600.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390871543

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1482
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $600.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390871544

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1483
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $520.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390871567

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1484
   Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06          Desc
          Exhibit Z Declaration of JPMorgan Chase Bank Page 158 of 190

14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $520.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390871568

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1485
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $460.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390872167

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1486
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $460.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390872168

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1487
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $600.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390872185

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1488
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $600.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390872186

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1489
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $600.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390872263

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1490
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                  Amount: $600.00

                              Posting Date: 21-May-19

                          Sequence Number: 003390872264

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1491
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                                                                                Desc
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          CHASEO                                                                                         May 22. 2019 through   June 21. 2019
          JPMorgan Chase Bank, NA
          POBox 182051
                                                                                                        Primary Account:                       1773
          Columbus, OH 43218 -2051

                                                                                                CUSTOMER SERVICE INFORMATION
                                                                                               Web site:                                  Chase.com
                                                                                               Service Center:                     1-800-935-9935
      00001054    ORE 201 14217319   NNNNNNNNNNN   T   1 000000000350000                       Deaf and Hard of Hearing:           1-800-242-7383
      MUHAMMAD N SIDDIQI                                                                       Para Espanol                        1-877 -312-4273
      3020 BIGTOWN BLVD                                                                        International Calls:                t-7t3-262-1679
      MESQUITE TX 75150-2412




 -----------
  ASSETS
  Checking       & Savings                                                 ACCOUNT


  Chase Premier Plus Checking
  Chase Plus Savings
  Total                                                                                                                    $2,713.07                  $256.22



  TOTAL        ASSETS                                                                                                      $2,713.07                  $256.22




                                                                                                                                                      1773




  CHECKING SUMMARY
                                                                                               AMOLJNT

  Beginning       Balance                                                                 $2,680.47
  Deposits and Additions                                                                   14,099.77
  Checks Paid                                                                              -3,777.64
  ATM & Debit Card Withdrawals                                                                 -432.90
  Electronic     Withdrawals                                                              -12,075.08
  Other Withdrawals                                                                            -178.00
  Fees                                                                                          -93.00
  Ending Balance

  Annual Percentage         Yield Earned This Period                                           001%
  Interest Paid This Period                                                                     $0.01
  Interest Paid Year-to-Date

 Your account ending in 5037 is linked to this account for overdraft             protection.




                                                                                                                                  P~g.(;'!1 of 6




                                                                  SB1217566-F1                                                                                         1493
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         CHASEO                                                                         May 22, 2019 through June 21,2019
                                                                                      Primary Account:                 1773




 DEPOSITS AND ADDITIONS

                                                      PPD ID 9111111101




 Total Deposits    and Additions                                                                                     $14,099,77




                                                                                                      DATE
 CHECK NO.            DESCRIPTION                                                                     PAID                  AMOUNT

        "



 Total Checks Paid

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 , All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
   one of your previous statements.
 A   An image of this check may be available for you to view on Chase.com.



 IATM & DEBIT CARD WITHDRAWALSI




 Total ATM & Debit Card Withdrawals                                                                                         $432.90




                                                                                                               Page 2 016




                                                        SB1217566-F1                                                                         1494
Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06                                         Desc
       Exhibit Z Declaration of JPMorgan Chase Bank Page 167 of 190




         CHASEO                                     May 22, 2019      through June 21,2019
                                                   Primary Account:                       1773




 IELECTRONIC WITHDRAWALSI
                                                                                               AMOUNT




 laTHER WITHDRAWALSI
  DATE   DESCRIPTION                                                                           AMOUNT
 06/10   06/10 Withdrawal                                                                      S178.00
 Total Other Withdrawals                                                                       $17B.OO




                                                                                               AMOUNT
                                  Discover   E·Payment   5319                                   $34.00

                                                                                                 34.00



 Total Fees                                                                                     $93.00




                                                                                 Page 3 01 6




                              SB1217566-F1                                                                      1495
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        CHASEO                                                                                     May 22, 2019 through June 21,2019
                                                                                                  Primary Account:                 1773




 WANT TO AVOID PAYING A MONTHLY                  SERVICE     FEE ON YOUR CHECKING            ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
 this fee during any statement period.
       Have an average qualifying deposit and investment balance of at least $15,000,00 during your
       statement period.
       (Your average qualifying deposit and investment balance was SI ,874.00)

     Talk to a banker about transferring     your balances to Chase today!

      OR, authorize us to make automatic payments              to your qualifying      Chase mortgage       from your Chase account.
      (You do not have a qualifying Chase mortgage)

      Talk to a banker about a Chase mortgage!

 Stop in today and explore all Chase has to offer.


                   AFT AND RETURNED ITEM FEE SUMMARY
                                                                                                         Total for                     Total
                                                                                                      This Period             Year-to-date
 Total Overdraft   Fees'                                                                                   $68.00                   S102.00
 Total Returned    Item Fees                                                                                  $.00                      S.OO

 'Total Overdraft Fees includes Insufficient Funds Fees. and Extended Overdraft Fees




                                                                                                                                        5037



    SAVINGSSU
                                                                                         AMOUNT
  Beginning    Balance                                                                   $32,60
  Ending Balance

  Annual Percentage        Yield Earned This Period                                      0.00%
  Interest Paid Year-to-Date                                                              SO.04

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 You earned a higher interest rate on your Chase Plus Savings account during this statement                 period because you had a
 qualifying Chase Premier Plus Checking account.




                                                                                                                          Page 4 01 6




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                M. SIDDIQI                                            1574
               3020 Big Town Blvd
             Mesquite, TX 7515Q.2412




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                                   SB1217566-F1                               1500
   Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06          Desc
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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $1000.00

                               Posting Date: 21-Jun-19

                          Sequence Number: 003290451408

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1509
   Case 21-04077 Doc 16-26 Filed 01/14/22 Entered 01/14/22 21:47:06          Desc
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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $1000.00

                               Posting Date: 21-Jun-19

                          Sequence Number: 003290451409

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1510
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          CHASEO                                                                               June 22,2019      through July 22, 2019
          JPMorgan Chase Bank, NA
          POBox    182051
                                                                                              Primary Account:                              1773
          Columbus, OH 43218 -2051

                                                                                      CUSTOMER SERVICE INFORMATION
                                                                                      Web site:                                    Ohase.corn
                                                                                      Service Center:                       1-800-935-9935
      00001056 ORE 201 14220419 NNNNNNNNNNN T 1 000000000350000                       Deaf and Hard of Hearing:             1-800-242-7383
      MUHAMMAD N SIDDIQI                                                              Para Espanol                          1-877 -312-4273
      3020 BIGTOWN BLVD                                                               International Calls:                  1-713-262-1679
      MESQUITE TX 75150-2412




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  ASSETS
  Checking & Savings                                           ACCOUNT                                 BEGINNING BALANCE                    ENDING BALANCE
                                                                                                               THIS PERIOD                      THIS PERIOD
  Chase Premier Plus Checking                                                                                        5223.62                     $1,499.43
  Chase Plus Savings                                                                                                    32.60                          32.60
  Total                                                                                                              $256,22                       $1,532,03



  TOTAL        ASSETS                                                                                                $256,22                       $1,532,03




                                                                                                                                                    773




  CHECKING SUMMARY
                                                                                     AMOLJNT
  Beginning      Balance                                                             $223,62
  Deposits and Additions                                                         19,803.77
  Checks Paid                                                                        -680.00
  ATM & Debit Card Withdrawals                                                       -213.65
  Electronic    Withdrawals                                                      -5,191.31
  Other Withdrawals                                                             -12,350.00
  Fees                                                                                -93.00
  Ending Balance

  Annual Percentage        Yield Earned This Period                                  001%
  Interest Paid This Period                                                           $0.01
  Interest Paid Year-to-Date

 Your account ending in 5037 is linked to this account for overdraft   protection.




                                                                                                                           P~g.(;'!1   of   4




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         CHASEO                                                                         June 22, 2019 through July 22, 2019
                                                                                      Primary Account:                   1773




 DEPOSITS AND ADDITIONS




 Total Deposits     and Additions                                                                                      $19,803,77




                                                                                                         DATE
 CHECK NO,             DESCRIPTION                                                                       PAID                 AMOUNT

         "

 Total Checks Paid                                                                                                            $680.00
 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check, As a result, we're not able to return the check to you or show you an image,
 • All of your recent checks may not be on this statement,   either because they haven't cleared yet or they were listed on
   one of your previous statements,
 " An image of this check may be available for you to view on Chase.corn.



 IATM & DEBIT CARD WITHDRAWALSI
  DATE       DESCRIPTION                                                                                                      AMOUNT




 Total ATM & Debit Card Withdrawals                                                                                           $213.65

 IELECTRONIC WITHDRAWALSI
  DATE       DESCRIPTION                                                                                                      AMOUNT




                                                                                                                 Page 2 014




                                                        SB1217566-F1                                                                           1512
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             CHASEO                                                                                           June 22, 2019 through July 22, 2019
                                                                                                             Primary Account:                   1773




                                                                       (continued)

      DATE      DESCRIPTION                                                                                                                          AMOUNT




      Total Electronic      Withdrawals


              ER WITHDRAWALS
                                                                                                                                                     AMOUNT




      Total Other Withdrawals                                                                                                                 $12,350.00




                                                                                                                                                     AMOUNT
                                                                                                                                                      $34,00

                                                                                                                                                       34,00



      Total Fees                                                                                                                                      $93.00


 WANT TO AVOID PAYING A MONTHLY                             SERVICE     FEE ON YOUR CHECKING               ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account.        Here are the two ways you can avoid
 this fee during any statement period.
 •     Have an average qualifying   deposit and investment    balance of at least $15,000.00 during your
       statement period.
       (Your average qualifying deposit and investment balance was SI ,539.00)

         Talk to a banker about transferring             your balances to Chase toaey!

          OR, authorize us to make automatic    payments                  to your qualifying         Chase mortgage     from your Chase account.
          (You do not have a qualifying Chase mortgage)

          Talk to a banker about a Chase mortgage!

 Stop in today          and explore      all Chase has to offer .


          •.. ,.., .AFT AND RETURNED ITEM FEE SUMMARYI
                                                                                                                     Total for                      Total
                                                                                                                  This Period              Year-Io-date
 Total Overdraft         Fees'                                                                                         $3400                     S136.00
 Tolal Returned          II em Fees                                                                                    $34.00                        $34.00

 1<   Total Overdraft   Fees includes   Insufficient   Funds Fees, and Extended   Overdraft   Fees




                                                                                                                                       Page 3 01 4




                                                                          SB1217566-F1                                                                                1513
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       CHASEO                                                                                             June 22, 2019 through July 22, 2019
                                                                                                         Primary Account:                           773




                                                                                                                                  ____                     ,'037




    SAVINGSSU
                                                                                                AMOUNT
  Beginning     Balance                                                                         $32,60
  Ending    Balance

  Annual Percentage       Yield Earned This Period                                              0,00%
  Interest Paid Year-to-Date                                                                     SO.04

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 You earned a higher interest rate on your Chase Plus Savings account during this statement                         period because you had a
 qualifying Chase Premier Plus Checking account.




 IN CASE OF ERRORS OR QUESTIONS                  ABOUT YOUR ELECTRONIC           FUNDS TRANSFERS:           Call us at 1·866·564·2262 or write us at the
 address on the front of this statement (non-personal      accounts contact Customer Service) immediately if you think your statement or receipt is
 incorrect or it you need more Information about a transfer listed on the statement or receipt
 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
 appeared. Be prepared to give us the following information:
                 Your name and account number
                 The dollar amount of the suspected error
           •     A description of the error or transfer you are unsure 01, why you believe it IS an error, or why you need more Information.

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 us to complete our investigation.
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 IN CASE OF ERRORS OR QUESTIONS               ABOUT NON·ELECTRONIC           TRANSACTIONS:      Contact the bank Immediately if your statement IS
 incorrect or il you need more informar,on about any non-electronic transactions (checks or deposits) on this statement.  Ii any such error appears,
 you must notify the bank in writing no later than 30 days after the statement was made available to [Sou. For more complete details. see the
 ~~;;i'~r~~~t~~:~~~~~,u~~~on~~~t~~F6f8Iicable         account agreement that governs your account.     eposit products and services are oHered by



                                                                                                            JPMorgan Chase Bank, N.A. Member FDIC




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                                                                   SB1217566-F1                                                                                           1514
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                            ~            M. SIDDIQI
                            ;;3020 Big Town Blvd
                                                                                         XX-XXXXXXX
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-     _ ==~~                 Mesguite,.TX 75150-2412



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                                        PAULINE Mil'ORANO, County T•••••••••      Count.'iiM'l
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         CHASE                            0                            DEPOSIT/DEPOSITO                                       SAViNGS! AHORROS []
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12-Apr-21

12Apr21-2530

This is a substitute document representing a CASH IN TICKET

Posting Date 11-Jul-19

Sequence number 009590833609

Amount 4000.00

Account Number 1773

Date Request Received 12-Apr-21




                                   SB1217566-F1                                 1526
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          CHASEO                                                                             July 23, 2019 through   August 21, 2019
         JPMorgan Chase Bank, NA
                                                                                             Primary Account:
         POBox    182051
         Columbus, OH 43218 -2051

                                                                                      CUSTOMER SERVICE INFORMATION
                                                                                     Web site:                                  Chase.com
                                                                                     Service Center:                     1-800-935-9935
      00001062 ORE 201 14223419 NNNNNNNNNNN T 1 000000000350000                      Deaf and Hard of Hearing:           1-800-242-7383
      MUHAMMAD N SIDDIQI                                                             Para Espanol                        1-877 -312-4273
      3020 BIGTOWN BLVD                                                              International Calls:                t-7t3-262-1679
      MESQUITE TX 75150-2412




 -----------
  ASSETS
  Checking & Savings                                           ACCOUNT                                BEGINNING BALANCE             ENDING BALANCE
                                                                                                              THIS PERIOD               THIS PERIOD
  Chase Premier Plus Checking                                                                                   SI,499.43                $1,846.16
  Chase Plus Savings                                                                                                  32.60                  32.60
  Total                                                                                                         $1,532.03                $1,878.76



  TOTAL        ASSETS                                                                                           $1,532.03                $1,878.76




                                                                                                                      ••                 11773

  CHECKING SUMMARY
                                                                                     AMOLJNT
  Beginning      Balance                                                        $1,499.43
  Deposits and Additions                                                        20,282.77
  Checks Paid                                                                    -1,899.34
  ATM & Debit Card Withdrawals                                                   -2,306.46
  Electronic    Withdrawals                                                     -15,229.24
  Fees                                                                               -501.00
  Ending Balance

  Annual Percentage        Yield Earned This Period                                  0.01%
  Interest Paid This Period                                                           $001
  Interest Paid Year-to-Date

 Your account ending in 5037 is linked to this account for overdraft   protection.




                                                                                                                        P~g.(;'!1 of 6




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          CHASEO                                                                             July 23, 2019 through August 21,2019
                                                                                             Primary Account:                 1773




 DEPOSITS AND ADDITIONS

                                                           PPD ID 9111111101




 Total Deposits      and Additions                                                                                          $20,282,77




                                                                                                            DATE
 CHECK NO.                DESCRIPTION                                                                       PAID                   AMOUNT
         1\




 Total Checks      Paid                                                                                                       $1,899.34

 If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
 not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
 * All of your recent checks may not be on this statement,       either because they haven't cleared yet or they were listed on
   one of your previous statements.
 A   An image of this check may be available for you 10 view on Chase. com.



 IATM & DEBIT CARD WITHDRAWALSI
  DATE        DESCRIPTION                                                                                                           AMOUNT




 07131        Card Purchase             07130 Tmc Restaurant   of Da11214-9568800   TX Card 3110                                    167.46
 08/05        Card Purchase             08/03 Dallas Food & Beverage   Dallas TX Card 3110                                          438.62
 Total ATM & Debit Card Withdrawals                                                                                           $2,306.46


 IELECTRONIC WITHDRAWALSI
  DATE        DESCRIPTION                                                                                                          AMOUNT




                                                                                                                      Page 2 016




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         CHASEO                                    July 23, 2019 through   August 21,2019
                                                   Primary Account:                     1773




                                  (continued)

  DATE    DESCRIPTION                                                                        AMOUNT




 Total Electronic   Withdrawals                                                       $15,229,24




                                                                                             AMOUNT
                                                                                              $34.00




                                                                                               34.00



                                                          12033459161                          34.00




 Total Fees                                                                                  $501.00




                                                                               Page 3 01 6




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            CHASEO                                                                                               July 23, 2019 through   August 21,2019
                                                                                                                Primary Account:                      1773




 WANT TO AVOID PAYING A MONTHLY                              SERVICE     FEE ON YOUR CHECKING               ACCOUNT?

 A monthly Service Fee was charged to your Chase Premier Plus Checking account. Here are the two ways you can avoid
 this fee during any statement period.
       Have an average qualifying   deposit and investment    balance of at least $15,000.00 during your
       statement period.
       (Your average qualifying deposit and investment balance was SI ,092.00)

          Talk to a banker about transferring             your balances to Chase today!

          OR, authorize us to make automatic    payments                   to your qualifying         Chase mortgage       from your Chase account.
          (You do not have a qualifying Chase mortgage)

          Talk to a banker about a Chase mortgage!

 Stop in today           and explore      all Chase has to offer.


                         AFT AND RETURNED ITEM FEE SUMMARY
                                                                                                                        Total for                         Total
                                                                                                                     This Period                 Year-to-date
 Total Overdraft          Fees'                                                                                          $306.00                       S442.00
 Total     Returned       11em    Fees                                                                                   $170.00                       S204.00

 'Total     Overdraft    Fees includes   Insufficient   Funds Fees. and Extended   Overdraft   Fees




                                                                                                                                         ____                5037




     SAVINGSSU
                                                                                                        AMOUNT
   Beginning            Balance                                                                         $32,60
   Ending       Balance

   Annual Percentage              Yield Earned This Period                                              0.00%
   Interest Paid Year-to-Date                                                                            SO.04

 The monthly service fee for this account was waived as an added feature of Chase Premier Plus Checking account.


 You earned a higher interest rate on your Chase Plus Savings account during this statement                                period because you had a
 qualifying Chase Premier Plus Checking account.




                                                                                                                                             Page 4 01 6




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12-Apr-21

Reference Case Number: G12Apr21-2530

This is a substitute document representing an Electronic Ticket

Posting Date 19-Aug-19
Sequence Number 001070545168
Amount 5000.00
Account Number: 1773
Date Request Received 12-Apr-21




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                          For Deposit Only· JPMC


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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $5000.00

                              Posting Date: 16-Aug-18

                          Sequence Number: 004090230407

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $5000.00

                              Posting Date: 16-Aug-18

                          Sequence Number: 004090230408

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




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15-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $3000.00

                              Posting Date: 20-Aug-18

                          Sequence Number: 005770263916

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




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14-Apr-21


Reference Case Number: G12Apr21-2530


                Here is an update on your recent request for an image

                                 Amount: $3000.00

                              Posting Date: 20-Aug-18

                          Sequence Number: 005770263917

We can’t complete your request because electronic transactions, like this one, do not
have images. We apologize for the inconvenience.




                                   SB1217566-F1                                         1357
